                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 1 of 132


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Providence Hospital of North Houston LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  16750 Red Oak Dr.                                               5037B FM 2920 Rd.
                                  Houston, TX 77090                                               Spring, TX 77388
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 2 of 132
Debtor    Providence Hospital of North Houston LLC                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 3 of 132
Debtor   Providence Hospital of North Houston LLC                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 4 of 132
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 5 of 132
                              Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 6 of 132

 Fill in this information to identify the case:

 Debtor name            Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,071,658.18

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,071,658.18


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       13,485,906.64


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,020,840.37


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         23,506,747.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 7 of 132

 Fill in this information to identify the case:

 Debtor name         Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                             number
                    Independent Financial formerly
           3.1.     Independent Bank                                        Checking                         8405                                    $18,120.18



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $18,120.18
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
                                             SEE ATTACHED EXHIBIT A/B #11b

           11b. Over 90 days old:                                            -                               0.00 =....                          $1,053,538.00
                                              face amount                        doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 8 of 132

 Debtor         Providence Hospital of North Houston LLC                                      Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                     $1,053,538.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           SEE ATTACHED EXHIBIT A/B #41 (SUBJECT
           TO UMMC MOU AND BILL OF SALE)



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                                      Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 9 of 132
                                                                    EXHIBIT A/B #11b

                                                                                   AR
Providence Hospital of North Houston, LLC
Accounts Receivable

11b.                                        Over 90 days old

                                                           Doubtful or
                                                Face      Uncollectible
                   What                       Amount        Accounts       Net Value                                          Comment
Patient Accounts Receivable                   10,116,208 Unknown          Unknown
Receivable from UMMC                           1,053,538                0    1,053,538 See tab UMMC for details
Other receivables:
  SE Texas ER & Hospital (Formerly ICON)        865,841          865,841             0 PHNH provided lab and management services and lab supplies
  Progressive Women’s Health                      5,500            5,500             0 Inv was for a box of 5 - Genesis HTA kit Part number M0068580210
  Townsen Memorial Hospital                       4,068            4,068             0 Lap tray set
                                                                                       Biopsy procedure supplies; there is a liability for $154.39 as they paid another invoice
                                                                                       twice. If invoice owed is offset with the duplicate payment made by Liberty Dayton, then
  Liberty Dayton Regional                            46                46            0 PHNH would owe Liberty Dayton.




                                                                                 Page 1
               Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 10 of 132
                                            EXHIBIT A/B #11b

                                                       UMMC
UMMC Receivable Detail

        Date         Amount                                        Description
         09/01/19    500,000.00    Last payment from sale of business
         09/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         09/23/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         10/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         10/23/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         11/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         11/26/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         12/20/19     82,467.27    Loan payment on Independent Bank Loan ending in 0541
         12/23/19     44,455.03    Loan payment on Independent Bank Loan ending in 4023
         01/31/20     31,020.19    UMMC portion of the BPP taxes paid in Jan 2020 for 2019
         09/01/19         32.95    Omni Fire & Security – Service for 9/2019
         09/01/19      1,649.13    Waste Management bill for service period 9/2019
         09/01/19      2,871.65    Canon Lease payment for RadPro DR System Merry X-Ray for 9/2019
         09/01/19        620.61    OWDT payment for website hosting and maintenance – 9/2019
         09/24/19      1,658.12    Waste Management bill for service period 10/2019
         09/30/19      1,200.00    Biomedical Waste Solutions bill for 9/2019
         10/01/19        211.60    Shred-It payment for service dates 9/11/19
         10/01/19         32.95    Omni Fire & Security – Service for 10/2019
         10/03/19      2,213.43    Microsoft Office 365 E1 - Online Services - Billing Period: 09/03/2019 - 10/02/2
         10/06/19        620.61    OWDT payment for website hosting and maintenance – 10/2019
         10/22/19        316.92    Shred-It payment for service dates 9/25/2019 and 10/9/2019
         11/06/19        620.61    OWDT payment for website hosting and maintenance – 11/2019
         11/22/19        316.92    Shred-It payment for service dates 10/23/19, 11/6/19 and 11/20/19
         12/01/19        883.95    ADP Benefit adjustment for December 2019
         11/06/19        620.61    OWDT payment for website hosting and maintenance – 12/2019
         12/22/19        221.52    Shred-It payment for service dates 12/4/19 and 12/17/19
         01/22/19        231.44    Shred-It payment for service dates 12/31/19 and 1/15/2020
         02/01/20        505.61    ADP Benefit adjustment for Nov 2019

Total               1,053,538.02




                                                        Page 2
                     Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 11 of 132
                                                            EXHIBIT A/B #41

Providence Hospital of North Houston
Schedule A/B #41
Office equipment, including all computer equipment and communication systems equipment and software (subject to
UMMC MOU and Bill of Sale)

                                          Net book value of debtor's                                                             Current value of debtor's
           Description                            interest                     Valuation method used for current value                   interest
        Computer Equipment

Hardware: POE Switches for Phones
- CIsco SG-300-52 port switch (9)
- Cisco SG300 28 port POE + Switch
(1)
- Cisco MVBSX1 Mini-Gbic (10)
- Cisco Catalyst 4500-48 port POE
modules (6)
- Cisco Catalyst 4500 Supervisor (1)                        11,046 E-Bay                                                                              4,887
Purchase to Texas Systems Group                             15,312 Net book value                                                                    15,312
Optiplex 5000 Series - 20 5040 SFF, 5 -
5040 MT                                                       7,692 E-Bay                                                                             6,000
Netgear Ready NAS, Seagate Iron
Wolf, Cat 6 Network                                           1,572 Net book                                                                          1,572
Rack, OCUCOBOL                                                7,132 Net book                                                                          7,132
Software
Digiu Server Software                                           -      Net book value; software purchased in 2016                                       -
Amkai Office/Charts Software for
Hospital                                                        -      Net book value; software purchased in 2016                                       -
Network infrastructure, power &
enviromental, software & warranty                               -      Net book value; software purchased in 2016                                       -
MD Staff (Web) Cloud including E Priv
& MD Query, with MD App and
virtual Committee - creditialing
software                                                        -      Net book value; software purchased in 2016                                       -
Oppor Sr Network Architect;
Engineering Services                                            -      Engineering services                                                             -
Cloud infrastructure - Encrypted
Cloud Infrastructure platform
purposed for application.services
execution, data storage and
onsite/offsite data protection - 8 TB
(April 2016 and 8 TB May 2016)                                  -      E-Bay                                                                            310
Oppr Infrastructre - IT Build
Agreement - 50% of labor costs
utilized up through May 1, 2016                                 -      Engineering services                                                             -
Polycom VVX 201 Business Media
Phone w/o Power Supply (2);
Polycom VVX-310 6-Line Desktop
Phones, Gigabit Ethernet w/HD Voice
w/o power supply (80);
Digium Switchvox Gold Subscriptions
(285 - 1 year license);
Implementation Training and Labor
                                                                -      Ebay                                                                           1,630
Wellsoft - 75% of implementation
and license fees billable upon
contract acceptance - Emergency
Department Information System                                   -      Net book value; software purchased in 2016                                       -
Wellsoft - contract signed 5/27/2016,
25% of implementation and license
fees                                                            -      Net book value; software purchased in 2016                                       -
Custom programming for a GoRev
and Amkai Interface                                             -      Net book value; billing system GoRev no longer utilized                          -
Hospital Infrastructure IT build
Agreement - labor invoice                                       -      Net book value; labor to get infrasturcture up in 2016                           -
Dragon Dictation software                                       -      Ebay                                                                              30
                   Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 12 of 132
                                                      EXHIBIT A/B #41

Providence Hospital of North Houston
Schedule A/B #41
Office equipment, including all computer equipment and communication systems equipment and software (subject to
UMMC MOU and Bill of Sale)
Wellsoft - As per terms of a proposal
date July 18, 2016, 25% of Software
license fee is billable upon
completion                                                -   Net book value; software purchased in 2016          -
Visualutions - Interfaces - custom
coded interfaces to softwares used
by business                                               -   Net book value; software purchased in 2016          -
Powerscribe360/ Project
Management                                                -   Net book value; software purchased in 2016          -
OWDT,LLC - Initial payment for web
design and development                                    -   PHNH website is no longer operational.              -
OWDT,LLC - final paymetn for web
design and development                                    -   PHNH website is no longer operational.              -

Nuance Communications, Inc.
Powerscribe 360, Interface Download                      -     Net book value; software purchased in 2017         -

VasoHealthcareIT - TOMO software -
software for mammo upgrade.                              -     Net book value; software purchased in 2017         -

VasoHealthcareIT - TOMO software -
software for mammo upgrade.                              -     Net book value; software purchased in 2017         -
Wellsoft's Emergency Department
Software, Facility Charge capture
Revision                                                 -     Net book value; software purchased in 2017         -
CompuGroup Medical US - PHNH
LabDaq Interface and Professional
Services                               $            6,069.00 Net book value; software purchased in 2017
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 13 of 132

 Debtor         Providence Hospital of North Houston LLC                                      Case number (If known)
                Name


        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            SEE ATTACHED EXHIBIT A/B #50 (SUBJECT
            TO UMMC MOU AND BILL OF SALE)



 51.        Total of Part 8.
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                   Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 14 of 132
                                                      EXHIBIT A/B #50

Providence Hospital of North Houston, LLC
Schedule of other machinery, fixtures and equipment


                        Description                         Valuation method used for current value   Current value of debtor's interest
Equipment leases under Canon Financial
RadPro DR System Merry X-Ray                         Lease was assumed by UMMC                                                        -
GE Precision 500D R/F Room (Block Imaging)           Lease was assumed by UMMC                                                        -
Toshiba Infinix C-Arm                                Lease was assumed by UMMC                                                        -
Eaton-93PM/150kWUPS System N1 Critical Technologies  Lease was assumed by UMMC                                                        -
TMS Therapy System                                   Lease was assumed by UMMC                                                        -
Mark7-Arterion Bayer Injector                        Lease was assumed by UMMC                                                        -
Securview-RM-SVDX Hologic                            Lease was assumed by UMMC                                                        -
Canon CT Options                                     Lease was assumed by UMMC                                                        -
Craneware Software                                   Lease was assumed by UMMC                                                        -
GE HemoHemodynamic Combo Lab696-R3 and INW Server Up Lease was assumed by UMMC                                                        -
Omnicell Drug Dispenser                              Lease was assumed by UMMC                                                        -
Webster Vivid IQ Biosense                            Lease was assumed by UMMC                                                        -
Carto 3 System Biosense Webster                      Lease was assumed by UMMC                                                        -
UMS X-Ray System                                     Lease was assumed by UMMC                                                        -
CIOS C Arm System                                    Lease was assumed by UMMC                                                        -
CIOS C Arm System                                    Lease was assumed by UMMC                                                        -
Siemens PET CT and Canon Vitrea                      Lease was assumed by UMMC                                                        -
MULTGEN2-VENOM100MM -Stryker RF Ablation Machine     Lease was assumed by UMMC                                                        -
Canon Aplio 500 Ultrasound                           Lease was assumed by UMMC                                                        -
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 15 of 132

 Debtor         Providence Hospital of North Houston LLC                                     Case number (If known)
                Name

           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

           Gallagher Cyber Plus Policy #OC0525AAD619                                                                       Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claim for economic damages as a result of cyber attack
           in December 2019; loss covered by Gallagher Cyber
           Plus Policy
           SEE ATTACHED EXHIBIT A/B #74                                                                                    Unknown
           Nature of claim
           Amount requested



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                  $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy
        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 16 of 132

                                      EXHIBIT A/B #74

Cyber Attack Summary


On December 11, 2019, the PHNH IT system was hit by a ransomware attack. The IT system was located
at the PHNH campus in the server room. The virus traveled through the entire IT system including the
1960 Family Practice clinics, business office, ER and multiple other entities since the virus went into the
GE (PAC system). Additionally, the tmmsonline.net email system was also compromised and all emails
have not been recovered. VasoHealthcare IT was supposed to have maintained our entire network
(pharmacies/business office/billing office/clinics/radiology/satellite locations). Everything related to
business was completely shut down.

Our cyber insurance policies allowed our insurance company to step in and the carrier paid the
ransomware ($800K plus) and also paid a recovery IT company (outside firm) to recover the damaged IT
system. After the insurance investigation was complete, it was determined that one of the computers
located at the nurse station (Kim Harrington, CNO of UMMC North) opened an unintended email and the
virus spread to all the network systems located at Providence Hospital. UMMC was using our network
system through a managed access and service agreement.

After several months, it was determined that only about 50% of the damaged software is recoverable.
PHNH has not been able to send out claims and billing has been shut down 100%.

Economic damages have not been determined. The equipment, various IT equipment, and software is
the collateral of Independent Bank.

We have provided to the carrier the monies that PHNH has paid as well as vendor invoices that the carrier
should pay. PHNH does not have a functioning billing system.

See below a timeline on major events as they occurred as part of the remediation efforts to this
ransomware attack. All major systems impacted including, but not limited to, GE Centricity, GE PACS,
MedQ, Allscripts, Amkai, CPSI, Mail Server, entire network.

    •   12/11/2019: Ransomware attack happened at 2.00 AM early morning. IT received multiple calls
        about systems not functioning. Basic troubleshooting was done but the systems remained down.
        Morning 9.00 AM – IT determined that the systems were hacked.
    •   12/12/2019: Dr. Le contacted carrier. PHNH began working with counsel for insurance carrier and
        Tracepoint (Insurance IT). Tracepoint came onsite to evaluate the network.
    •   12/12/2019: FBI Cyber Crime Dept. was notified about the incident. FBI came on site to
        investigate on the attack.
    •   3 Weeks post attack: Tracepoint completed its investigation and sent findings to their
        headquarters in Washington DC.
    •   01/21/2020: Management contacted Visualutions to evaluate Centricity Application.
    •   01/28/2020 – 01/29/2020: Visualutions came onsite, declared the centricity Database and
        application files were corrupted beyond repair and need a re-implementation.
    •   02/13/2020: Investigation findings meeting with Tracepoint, Insurance and insurance attorneys.
        All the findings were mentioned on the call.
    Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 17 of 132

                                  EXHIBIT A/B #74

•   02/27/2020: Ontrack was contacted to Decrypt the data from the centricity Database. Ontrack
    sent a quote.
•   04/15/2020: Carrier released payment to Ontrack for Centricity Data decryption.
•   04/20/2020: Management contacted MedQ for troubleshooting the corrupt RIS system
•   04/20/2020: Management contacted GE for troubleshooting the corrupt PACS system
•   04/28/2020: Contacted Visualutions for Quotes on rebuilding Centricity application
•   05/01/2020: Received Quote from MedQ. MedQ tried to troubleshoot the system for more than
    a week after they were contacted to determine if the existing system could be repaired. The
    system was not responsive and beyond repair. Decision was made to re-implement a new system.
•   05/05/2020: Received the Decrypted data of Centricity Database from Ontrack
•   05/27/2020: Received the Quote from GE. GE worked with the IT team for more than a month in
    troubleshooting the system, understanding the previous workflow and evaluating the current
    functionality. The system is beyond repair and GE sent a quote to fix the dead system. A part of
    GE (GE Archive) was acceptable and was not included in the quote.
•   During this Entire process IT has been working to rebuild all the systems that were affected with
    no patient data loss including all the computers (180) and servers (Active Directory, multiple
    File Servers, DNS&DHCP Servers, multiple Internal App Servers) and other networking
    equipment including Firewalls and switches .
                          Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 18 of 132

 Debtor          Providence Hospital of North Houston LLC                                                            Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $18,120.18

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,053,538.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,071,658.18            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,071,658.18




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 19 of 132

 Fill in this information to identify the case:

 Debtor name         Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Canon Financial Services,
 2.1                                                  Describe debtor's property that is subject to a lien                     Unknown             $3,754,640.00
       Inc.
       Creditor's Name                                SEE ATTACHED EXHIBIT D-2.1- list of
                                                      equipment;
       158 Gaither Dr                                 Assets in possession of UMMC
       Mount Laurel, NJ 08054
       Creditor's mailing address                     Describe the lien
                                                      Lease Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Canon Medical Systems
 2.2                                                                                                                         $35,000.00                $35,783.00
       USA, inc.                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                Canon Aplio 500 Ultrasound Imaging System;
                                                      in possession of Community ER, LLC
       2441 Michelle Dr
       Tustin, CA 92780
       Creditor's mailing address                     Describe the lien
                                                      Lease Agreement assumed by Community
                                                      ER, LLC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2008

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                                                            Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 20 of 132
                                                                                                               EXHIBIT D-2.1
Providence Hospital of North Houston

Comments:
Canon Leases were to be assumed by various parties on 9/1/2019 as indicated below.
Debtor made payments on leases through 8/31/2019
In the UCC filings there are three CIOS Fusion Mobile C-Arm Systems listed. The third C-Arm (ref. 2.5) was never delivered.
See the original lease agreements with Canon attached. The schedules that in the agreements were provided by Canon.

Lease schedule for Canon Leases

    Ref. on Schedule D            Lease #         Original Cost    Payment      Lease Start Date                              Equipment Description              Serial Number        Term      End Date          Lease Assumed by:

 Potentially 2.1 and/or 2.2   001-0765962-001       $90,505.00 $2,871.65              12/11/2017   RadPro DR System Merry X-Ray                                       NA            36 months   12/11/2020   UMMC
 Potentially 2.1 and/or 2.2   001-0765962-002     $185,000.00 $5,985.89               12/11/2017   GE Precision 500D R/F Room (Block Imaging)                         NA            36 months   12/11/2020   UMMC
            2.15              001-0765962-003     $762,909.00 $15,624.44                2/1/2018   Toshiba Infinix C-Arm                                          A3A17Z2012        61 months     2/1/2023   UMMC
 Potentially 2.1 and/or 2.2   001-0765962-004       $61,280.00 $1,241.38               2/20/2018   Eaton-93PM/150kWUPS System N1 Critical Technologies                NA            60 months    2/20/2023   UMMC
 Potentially 2.1 and/or 2.2   001-0765962-005       $71,650.00 $1,454.11                3/2/2018   TMS Therapy System                                                39972          60 months     3/2/2023   UMMC
 Potentially 2.1 and/or 2.2   001-0765962-006       $25,025.00   $508.47               3/13/2018   Mark7-Arterion Bayer Injector                                    202528          60 months    3/13/2023   UMMC
 Potentially 2.1 and/or 2.2   001-0765962-007       $48,000.00   $984.87               3/23/2018   Securview-RM-SVDX Hologic                                          NA            61 months    3/23/2023   UMMC
             2.2              001-0765962-008       $53,840.00 $1,118.22               3/29/2018   Canon Aplio 500 Ultrasound                                    W1F1495661         60 months    3/29/2023   Community ER
             2.1              001-0765962-009       $66,000.00 $1,375.86               5/29/2018   Canon CT Options                                                   NA            61 months    5/29/2023   UMMC
             2.1              001-0765962-010     $582,567.00 $12,145.65                6/1/2018   Craneware Software                                                 NA            61 months     6/1/2023   UMMC
             2.1              001-0765962-011     $243,680.60 $5,027.92                 6/5/2018   GE HemoHemodynamic Combo Lab696-R3 and INW Server Upgrade          NA            61 months     6/5/2023   UMMC
             2.1              001-0765962-012       $36,353.00   $757.75               6/25/2018   Omnicell Drug Dispenser                                            NA            61 months    6/25/2023   UMMC
             2.1              001-0765962-013       $89,499.00 $1,866.23                7/9/2018   Webster Vivid IQ Biosense                                          NA            61 months     7/9/2023   UMMC
             2.1              001-0765962-014     $346,200.00 $7,218.52                7/30/2018   Carto 3 System Biosense Webster                                    NA            61 months    7/30/2023   UMMC
             2.1              001-0765962-015       $51,521.71 $1,070.83                8/2/2018   UMS X-Ray System                                                   NA            61 months     8/2/2023   SE Texas ER & Hospital
             2.1              001-0765962-016     $101,220.00 $2,110.84                9/11/2018   CIOS C Arm System                                                  NA            60 months    9/11/2023   UMMC
             2.1              001-0765962-017       $85,325.00 $1,779.36               9/11/2018   CIOS C Arm System                                                  NA            60 months    9/11/2023   UMMC
             2.1              001-0765962-018    $1,248,000.00 $27,729.58              12/7/2018   Siemens PET CT and Canon Vitrea                                MRP372950         60 months    12/7/2023   UMMC
             2.1              001-0765962-019       $49,170.00 $1,030.86               2/28/2019   MULTGEN2-VENOM100MM -Stryker RF Ablation Machine            MULTIPLE-See Below   61 months    3/28/2024   UMMC
             2.1              001-0765962-020       $75,601.80 $1,459.84               3/29/2019   Canon Aplio 500 Ultrasound                                         NA            61 Months    4/29/2024   UMMC

                                                                                                   detail of Lease# 001-0765962-019
                                                                                                   MULTIGEN2                                                      1829520439
                                                                                                   VENOM100MM                                                       104811
                                                                                                   VENOM100MM                                                       104849
                                                                                                   VENOM100MM                                                       104985
                                                                                                   VENOM100MM                                                       104987
                                                                                                   VENOM100MM                                                       104988
                                                                                                   VENOM100MM                                                       104990
                                                                                                   VENOM100MM                                                       104993
                                                                                                   VENOM100MM                                                       104994
                                                                                                   VENOM150MM                                                       102585
                                                                                                   VENOM150MM                                                       102625
                                                                                                   VENOM150MM                                                       102635
                                                                                                   VENOM150MM                                                       102636
                                                                                                   MULTIGEN2                                                      1711602623
                                                                                                   MONOPOLAR                                                          NA
                                                                                                   MULTIGEN2                                                        101438
                                                                                                   MULTIGEN2                                                        101439
                                                                                                   MULTIGEN2                                                        101514
                                                                                                   MULTIGEN2                                                        101606
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 21 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Cardinal Health                                Describe debtor's property that is subject to a lien                      $84,974.08         $0.00
       Creditor's Name                                All business assets
       7000 Cardinal Place
       Dublin POH 43017
       Creditor's mailing address                     Describe the lien
                                                      Assets in possession of UMMC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3220
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.

       1. Independent Financial



       FM 1960 Medical Village II,
 2.4                                                                                                                           $559,770.20         $0.00
       LP                                             Describe debtor's property that is subject to a lien
       Creditor's Name

       5037B FM 2920
       Spring, TX 77388
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.

        1. Independent Financial




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 22 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

       FM 1960 Medical Village II,
 2.5                                                                                                                       $3,163,896.58           $0.00
       LP                                             Describe debtor's property that is subject to a lien
       Creditor's Name                                A/R, business property, revenue or income or
                                                      collections in any other assets of the hospital
       5037B FM 2920
       Spring, TX 77388
       Creditor's mailing address                     Describe the lien
                                                      Loan Agreement for Original Buildout
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Independent Financial

 2.6   GenProbe Instruments                           Describe debtor's property that is subject to a lien                      $64,950.00         $0.00
       Creditor's Name                                Panther Instrument System Asset Number
                                                      549612
       10210 Genetic Center
       San Diego, CA 92121
       Creditor's mailing address                     Describe the lien
                                                      Asset in possession of UMMC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Independent Financial

       Highland Capital
 2.7                                                                                                                           $295,000.00   $80,000.00
       Corporation                                    Describe debtor's property that is subject to a lien
       Creditor's Name                                Used Toshiba Prime 80 Slice CT
       5 Center Ave
       Little Falls, NJ 07424
       Creditor's mailing address                     Describe the lien
                                                      Lease Agreement assumed by Community
                                                      ER, LLC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 23 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

       Last 4 digits of account number
       2791
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Independent Financial                          Describe debtor's property that is subject to a lien                 $3,901,846.20           $0.00
       Creditor's Name                                All A/R, furniture, fixtures, equipment,
       formerly Independent Bank                      inventory, chattel paper, general intangibles
       PO Box 3035
       McKinney, TX 75070
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement; ASSETS IN POSSESION
                                                      OF UMMC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0541
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Cardinal Health

 2.9   Independent Financial                          Describe debtor's property that is subject to a lien                     $265,863.56         $0.00
       Creditor's Name                                All A/R, furniture, fixtures, equipment,
       formerly Independent Bank                      inventory, chattel paper, general intangibles
       PO Box 3035
       McKinney, TX 75070
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement; ASSETS IN POSSESION
                                                      OF UMMC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4023
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Cardinal Health

 2.1
 0     M2 Lease Funds, LLC                            Describe debtor's property that is subject to a lien                      $35,115.10         $0.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 24 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

       Creditor's Name                                NeuroStar TMS System 2.0; Item No.
       175 N. Patrick Blvd., Ste                      81-61000-000X
       140                                            ASSET IN POSSESSION OF UMMC
       Brookfield, WI 53045
       Creditor's mailing address                     Describe the lien
                                                      Lease Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0307
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Ortho-Clinical Diagnostics,
 1     Inc.                                           Describe debtor's property that is subject to a lien                     $26,988.28         $0.00
       Creditor's Name                                VITROS 5600Integrated System J#56002726;
                                                      Serial #56002726
       1001 US Highway 202                            ASSET SOLD TO UMMC
       Raritan, NJ 08869
       Creditor's mailing address                     Describe the lien
                                                      Service Agreement; ASSETS IN POSSESION
                                                      OF UMMC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5294
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Providence ER of
 2     Northwest, PLLC                                Describe debtor's property that is subject to a lien                 $1,681,926.85          $0.00
       Creditor's Name                                A/R, business property, revenue or income or
                                                      collecitons in any other assets of the hospital
       5037-B FM 2920
       Spring, TX 77388
       Creditor's mailing address                     Describe the lien
                                                      Line of Credit Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 5 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 25 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Rad Leasing Company II LP                      Describe debtor's property that is subject to a lien                     $991,094.72          $0.00
       Creditor's Name                                3.0 Mako Rio Robotic Arm Standard System
                                                      ASSET IN POSSESION OF UMMC
       5037 B FM 2920
       Spring, TX 77388
       Creditor's mailing address                     Describe the lien
                                                      Leased Equipment
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Texas Radiology
 4     Associates, P.A.                               Describe debtor's property that is subject to a lien                 $1,628,959.68     $874,469.31
       Creditor's Name                                Titan High Yield MRI, Aquillion Prime CT
                                                      Scan, Toshiba Radiology System, Toshiba
                                                      Aplio Ultrasound, Toshiba Aquillion CT
       5037B FM 2920                                  Scanner, Toshiba Aplio Transesophageal
       Spring, TX 77388
       Creditor's mailing address                     Describe the lien
                                                      Leased Equipment; ASSETS IN POSSESION
                                                      OF UMMC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       06/01/19                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 5     Toshiba Medical Systems                        Describe debtor's property that is subject to a lien                       Unknown       Unknown



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                         Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 26 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

       Creditor's Name                                Toshiba Infinix Elite Cardiovascular 5-Axis
                                                      C-Arm Floor-mounted System complete with
                                                      all attachments and accessories
                                                      *Part of Canon Financial Services Master
       2441 Michelle Dr                               Lease; See 2.1
       Tustin, CA 92780
       Creditor's mailing address                     Describe the lien
                                                      Lease Agreement; ASSETS IN POSSESION
                                                      OF UMMC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2003
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 6     VasoHealthcare IT Corp.                        Describe debtor's property that is subject to a lien                     $722,730.73   $48,824.37
       Creditor's Name                                IT Server Equipment
       4710 Eisenhower Blvd.
       Tampa, FL 33634
       Creditor's mailing address                     Describe the lien
                                                      Service Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 7     Zimmer US, Inc.                                Describe debtor's property that is subject to a lien                      $27,790.66         $0.00
       Creditor's Name                                3-ATS 4000
                                                      ASSET IN POSSESION OF UMMC
       200 West Ohio Ave
       Dover, OH 44622
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 7 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 27 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4946
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Independent Financial

                                                                                                                               $13,485,906.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         64

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Canon Financial Services, Inc.
        c/o Padfield & Stout, LLP                                                                               Line   2.1
        1136 N. Kirkwood Rd
        Houston, TX 77043

        Canon Medical Systems USA, inc.
        c/o Padfield & Stout, LLP                                                                               Line   2.2
        1136 N. Kirkwood Rd
        Houston, TX 77043

        M2 Lease Funds, LLC
        c/o Davis Kuelthau, S.C.                                                                                Line   2.10
        11 E. Kilbourn Ave., Ste 1400
        Milwaukee, WI 53202

        Toshiba Medical Systems
        c/o Padfield & Stout                                                                                    Line   2.15
        1136 N. Kirkwood Rd
        Houston, TX 77043




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 8 of 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 28 of 132

 Fill in this information to identify the case:

 Debtor name         Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $603,610.37
           1960 Physician Associates                                            Contingent
           837 FM Cypress Creek Ste 105                                         Unliquidated
           Houston, TX 77090                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,956.05
           AADCO Medical, Inc.                                                  Contingent
           PO Box 410                                                           Unliquidated
           Randolph, VT 05060                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $22,738.15
           Abbott Laboratories                                                  Contingent
           22400 Network Place                                                  Unliquidated
           Chicago, IL 60673-1224                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,595.00
           Abbott Vascular                                                      Contingent
           75 Remittance Dr Ste 1138                                            Unliquidated
           Chicago, IL 60675-1138                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                         23329                                            Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 29 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,327.48
          Ability Network, Inc.                                                 Contingent
          PO Box 856015                                                         Unliquidated
          Minneapolis, MN 55485-6015                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Accountable Healthcare Staffing, Inc.
          c/o Jon Totz                                                          Contingent
          Totz Ellison & Totz, P.C.                                             Unliquidated
          2211 Norfolk, Suite 510                                               Disputed
          Houston, TX 77098
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,670.32
          Acumed LLC                                                            Contingent
          7995 Collection Center Dr                                             Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,348.77
          Aesculap Implant Systems, LLC                                         Contingent
          PO Box 780391                                                         Unliquidated
          Philadelphia, PA 19178-0391                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $130,465.06
          Aetna, Inc.                                                           Contingent
          PO Box 784836                                                         Unliquidated
          Philadelphia, PA 19178-4836                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,779.72
          AFLAC                                                                 Contingent
          1932 Wynnton Rd                                                       Unliquidated
          Columbus, GA 31999                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,784.00
          Allergan USA, Inc.                                                    Contingent
          12975 Collections Center Dr                                           Unliquidated
          Chicago, IL 60693-0129                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 30 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,329.14
          Allergan USA, Inc.                                                    Contingent
          12975 Collections Center Dr                                           Unliquidated
          Chicago, IL 60693-0129                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,305.00
          Allosource                                                            Contingent
          PO Box 801020                                                         Unliquidated
          Kansas City, MO 64180-1020                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,013.80
          Amazon Capital Services                                               Contingent
          PO Box 035184                                                         Unliquidated
          Seattle, WA 98124-5184                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,894.81
          AMB Services, Inc.                                                    Contingent
          22203 N Lake Village Dr                                               Unliquidated
          Katy, TX 77450                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,000.00
          Ambiorix, LLC                                                         Contingent
          PO Box 620                                                            Unliquidated
          Toledo, OH 43697                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,260.00
          American College of Radiology                                         Contingent
          1891 Preston White Dr                                                 Unliquidated
          Reston, VA 20191                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $435.00
          American Elevator Inspections                                         Contingent
          PO Box 2709                                                           Unliquidated
          Baytown, TX 77522                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 31 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99.33
          American Proficiency Institute                                        Contingent
          Department 9526                                                       Unliquidated
          PO Box 30516                                                          Disputed
          Lansing, MI 48909-8016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $139.25
          American Surgical Development                                         Contingent
          19820 N 7th Ave, Ste 230                                              Unliquidated
          Phoenix, AZ 85027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,344.66
          AmkaiSolutions                                                        Contingent
          555 NorthPoint Center East                                            Unliquidated
          Ste 300                                                               Disputed
          Alpharetta, GA 30022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $795.95
          Angiodynamics, Inc.                                                   Contingent
          PO Box 1549                                                           Unliquidated
          Albany, NY 12201-1549                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Applied Stattistics & Management, Inc.                                Contingent
          PO Box 2738                                                           Unliquidated
          Temecula, CA 92593                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,369.35
          Aquarium Creations                                                    Contingent
          16753 Donwick Dr Ste C7-C8                                            Unliquidated
          Conroe, TX 77385                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $974.28
          ArbiMed Inc.                                                          Contingent
          6229 Theall Rd Ste C                                                  Unliquidated
          Houston, TX 77066                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 32 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,981.98
          Arrow International, Inc.                                             Contingent
          PO Box 60519                                                          Unliquidated
          Charlotte, NC 28260                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,684.62
          Arthrex, Inc.                                                         Contingent
          PO Box 403511                                                         Unliquidated
          Atlanta, GA 30384-3511                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,464.00
          Asahi Intec USA, Inc.                                                 Contingent
          3002 Dow Ave., Ste 212                                                Unliquidated
          Tustin, CA 92780                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,342.04
          Ascend National LLC                                                   Contingent
          5380 W 34th St #288                                                   Unliquidated
          Houston, TX 77092                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $742.00
          Authorized Inspection Assoc.                                          Contingent
          14531 FM 529 Ste 135                                                  Unliquidated
          Houston, TX 77095                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,857.05
          Avanos Medical Sales, LLC                                             Contingent
          PO Box 732583                                                         Unliquidated
          Dallas, TX 75373-2583                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,350.00
          Avant Solutions                                                       Contingent
          29015 Japonica                                                        Unliquidated
          San Antonio, TX 78260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 33 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Axis Neuromonitoring, LLC
          c/o William J. Garrison                                               Contingent
          Garrison P.C.                                                         Unliquidated
          4514 Cole Ave., Suite 600                                             Disputed
          Dallas, TX 75205
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125.63
          BBC Biochemical                                                       Contingent
          PO Box 1320                                                           Unliquidated
          Mount Vernon, WA 98273                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,207.37
          BeaconMedaes                                                          Contingent
          Dept. 3234 (Lockbox)                                                  Unliquidated
          PO Box 123234                                                         Disputed
          Dallas, TX 75312-3234
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $280.00
          Behavioral Health Connections                                         Contingent
          Attn: Accounting                                                      Unliquidated
          6500 Hornwood Dr                                                      Disputed
          Houston, TX 77074
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,639.87
          Bell Medical, Inc.                                                    Contingent
          PO Box 771470                                                         Unliquidated
          Saint Louis, MO 63177                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,860.00
          Best Choice Anesthesia and Pain Services                              Contingent
          7010 Chapions Placa Dr #300                                           Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,786.19
          BKD LLP                                                               Contingent
          510 N Valley Mills Dr Ste 200                                         Unliquidated
          Waco, TX 76710                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 34 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,803.67
          Boston Scientific Corporation                                         Contingent
          PO Box 205651                                                         Unliquidated
          Dallas, TX 75320-5651                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,981.23
          Bracco Diagnostics, Inc.                                              Contingent
          PO Box 978952                                                         Unliquidated
          Dallas, TX 75397-8952                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,091.24
          Buckeye Cleaning Center                                               Contingent
          16420 W Hardy Rd Ste 150                                              Unliquidated
          Houston, TX 77060-6243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,469.41
          C.R. Bard Inc.                                                        Contingent
          PO Box 75767                                                          Unliquidated
          Charlotte, NC 28275                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,043.78
          Campos, Jose                                                          Contingent
          3913 Mossy Oaks Rd E                                                  Unliquidated
          Spring, TX 77389                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $467.48
          Canon Financial Services, Inc.                                        Contingent
          1000 Howard Blvd., Ste 103                                            Unliquidated
          Mount Laurel, NJ 08054                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,312.54
          Canon Medical Systems USA, Inc.                                       Contingent
          PO Box 775220                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 35 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $118,814.96
          Canon Medical Systems USA, Inc.                                       Contingent
          PO Box 775220                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,917.42
          Canon Medical Systems USA, Inc.                                       Contingent
          PO Box 775220                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,633.43
          Canon Medical Systems USA, Inc.                                       Contingent
          PO Box 775220                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $604.39
          Canon Medicaly Systems US, Inc.                                       Contingent
          PO Box 775220                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,265.01
          Cardinal Health                                                       Contingent
          c/o Bank of America Lockbox                                           Unliquidated
          5303 Collections Center Dr                                            Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $84,974.08
          Cardinal Health Medical Products & Svcs                               Contingent
          PO Box 730112                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,722.05
          Cardiovascular Systems, Inc.                                          Contingent
          Dept. CH 19348                                                        Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 36 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $425,599.40
          Cerner Corporation                                                    Contingent
          PO Box 959156                                                         Unliquidated
          Saint Louis, MO 63195-9156                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,620.08
          Change Healthcare, LLC                                                Contingent
          3055 Lebanon Pike                                                     Unliquidated
          Nashville, TN 37214                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $495.00
          Checkpoint Surgical                                                   Contingent
          22901 Millcreek Blvd, Ste 360                                         Unliquidated
          Beachwood, OH 44122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,171.00
          COLA                                                                  Contingent
          9881 Broken Land Pkwy Ste 200                                         Unliquidated
          Columbia, MD 21046                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,820.81
          College of American Pathologists                                      Contingent
          PO Box 71698                                                          Unliquidated
          Chicago, IL 60694-1698                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,679.12
          CompuGroup Medical US                                                 Contingent
          10065 Red Run Blvd Ste 150                                            Unliquidated
          Owings Mills, MD 21117-5566                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,037.66
          Cook Medical                                                          Contingent
          22988 Network Place                                                   Unliquidated
          Chicago, IL 60673-1229                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 37 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,400.90
          Cooper Surgical, Inc.                                                 Contingent
          PO Box 712280                                                         Unliquidated
          Cincinnati, OH 45271-2280                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $197,267.18
          CPSI                                                                  Contingent
          PO Box 850309                                                         Unliquidated
          Mobile, AL 36685-0309                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $620,405.19
          Craneware, Inc.                                                       Contingent
          po Box 934241                                                         Unliquidated
          Atlanta, GA 31193-4241                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $578.00
          DCIDS Tissue Bank                                                     Contingent
          1600 Hayes St Ste 300                                                 Unliquidated
          Nashville, TN 37203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,232.13
          DePuySynthes                                                          Contingent
          1302 Wrights Lane East                                                Unliquidated
          West Chester, PA 19380                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $389.70
          Discount Print                                                        Contingent
          10730 Barker Cypress Rd Ste C                                         Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,277.12
          Diversatek Healthcare, Inc.                                           Contingent
          27270 Network Place                                                   Unliquidated
          Chicago, IL 60630                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 38 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,203.77
          DJO Surgical                                                          Contingent
          PO Box 660125                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700.00
          Dozier, Jeremy                                                        Contingent
          17811 N Ble Heron Cir                                                 Unliquidated
          Montgomery, TX 77316                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $844.32
          Echo Communications, Inc.                                             Contingent
          12703 Veterans Memorial Dr Ste 200                                    Unliquidated
          Houston, TX 77014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $229,648.20
          Enhanced Revenue Solutions LLC                                        Contingent
          25700 I45 North Ste 120                                               Unliquidated
          Spring, TX 77386                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,455.00
          Enterprise Laboratory Conultation, LLC                                Contingent
          3157 Shoreline Dr                                                     Unliquidated
          Burleson, TX 76028-8312                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          eVisit                                                                Contingent
          1201 S. Alma School Rd, Ste 15500                                     Unliquidated
          Mesa, AZ 85210                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $157,046.22
          Experian Health, Inc.                                                 Contingent
          c/o Experian                                                          Unliquidated
          PO Box 886133                                                         Disputed
          Los Angeles, CA 90088-6133
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 39 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $129.00
          FedEx Freight Dept. Ch                                                Contingent
          PO Box 10306                                                          Unliquidated
          Palatine, IL 60055-0306                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,080.00
          Fidia Pharma USA                                                      Contingent
          PO Box 10341                                                          Unliquidated
          Uniondale, NY 11555-1034                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,434.42
          Filter Technology                                                     Contingent
          9018-B Sranton                                                        Unliquidated
          Houston, TX 77075                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,224.64
          Fire Safe Protection Services, LP                                     Contingent
          PO Box 1759, Dept 620                                                 Unliquidated
          Houston, TX 77251                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,062.00
          Fisher & Phillips LLP                                                 Contingent
          1075 Peach Tree St NE                                                 Unliquidated
          Ste 3500                                                              Disputed
          Atlanta, GA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $518.25
          Fisher Healthcare Acct #075180-001                                    Contingent
          PO Box 404705                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.01
          FM 1960 Medical Village II LP                                         Contingent
          20320 Northwest Frwy, Ste 900                                         Unliquidated
          Houston, TX 77065                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 40 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $640,750.00
          Fortis Surgical Solutions, LLC                                        Contingent
          7219 Emerald Glen Dr                                                  Unliquidated
          Sugar Land, TX 77479                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $94.02
          FP Mailing Solutions                                                  Contingent
          140 N Mitchell Ct Ste 200                                             Unliquidated
          Addison, IL 60101-5624                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,894.69
          Fresenius Medical Care                                                Contingent
          Houston Acutes                                                        Unliquidated
          North 16343 Collections Center Dr                                     Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $362.50
          Gary E. Patterson, PC                                                 Contingent
          PO Box 52159                                                          Unliquidated
          Houston, TX 77052                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $663.00
          GCS Backflow Services, Inc.                                           Contingent
          8524 Highway 6 North #274                                             Unliquidated
          Houston, TX 77095                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,422.59
          GE Healhtcare                                                         Contingent
          PO Box 640200                                                         Unliquidated
          Pittsburgh, PA 15264-0200                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,066.58
          Genzyme Corporation                                                   Contingent
          62665 Collections Center Dr                                           Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 41 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,929.12
          Getinge USA Sales, LLC                                                Contingent
          PO Box 775436                                                         Unliquidated
          Chicago, IL 60677-5436                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.49
          GI Supply, Inc.                                                       Contingent
          PO Box 45730                                                          Unliquidated
          Baltimore, MD 21297-5730                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,025.66
          Globonics LLC                                                         Contingent
          337 Garden Oaks Blvd #64830                                           Unliquidated
          Houston, TX 77018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,365.82
          Gold Standard Diagnostics Corp.                                       Contingent
          PO Box 11407                                                          Unliquidated
          Dept #5907                                                            Disputed
          Birmingham, AL 35202-1407
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $637.40
          Grainger                                                              Contingent
          Dept 886535853                                                        Unliquidated
          PO Box 419267                                                         Disputed
          Kansas City, MO 64141-6267
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $649.50
          Guardian Safe & Lock                                                  Contingent
          28155 Tomball Pkwy, Ste 6B                                            Unliquidated
          Tomball, TX 77375                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,749.50
          Gulf Coast Regional Blood Center                                      Contingent
          Attn: Elaine Gumabong                                                 Unliquidated
          1400 La Concordia                                                     Disputed
          Houston, TX
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 42 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48.00
          Harris County Clerk                                                   Contingent
          201 Caroline St, 4th Fl                                               Unliquidated
          Room 460                                                              Disputed
          Houston, TX 77002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.04
          HDP Investments, Inc.                                                 Contingent
          921 Cypress Creek Pkwy, Ste 122                                       Unliquidated
          Houston, TX 77090                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,685.86
          HealthStream, Inc.                                                    Contingent
          PO Box 102817                                                         Unliquidated
          Atlanta, GA 30368-2817                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,841.26
          Healthtronics Mobile Solutions                                        Contingent
          PO Box 95333                                                          Unliquidated
          Grapevine, TX 76099                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $386,299.80
          Henry Schein, Inc.                                                    Contingent
          Dept CH 10241                                                         Unliquidated
          Palatine, IL 60055-0241                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,368.65
          Henry Schein, Inc.                                                    Contingent
          Dept CH 10241                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,456.42
          Houston Endoscopic Solutions                                          Contingent
          220 Barren Springs Dr. #14                                            Unliquidated
          Houston, TX 77090                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 43 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,702.50
          Hunter Pharmacy Services                                              Contingent
          PO Box 30573                                                          Unliquidated
          Austin, TX 78755                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,551.10
          iMedical, inc.                                                        Contingent
          1153 SE Century Dr                                                    Unliquidated
          Lees Summit, MO 64081                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,208.44
          Innovative Office Machine Repair                                      Contingent
          17422 Edenway Dr #100                                                 Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,066.39
          Integra Lifesciences                                                  Contingent
          PO Box 404129                                                         Unliquidated
          Atlanta, GA 30384-4129                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,850.75
          Invivo Corporation                                                    Contingent
          PO Box 100355                                                         Unliquidated
          Atlanta, GA 30384-0355                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,270.21
          iRCODER                                                               Contingent
          3355 Lenox Rd Ste 242                                                 Unliquidated
          Atlanta, GA 30326-1332                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,180.28
          J&J Healthcare Systems, Inc.                                          Contingent
          PO Box 406663                                                         Unliquidated
          Atlanta, GA 30384-6663                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 44 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,573.66
          Jason's Deli                                                          Contingent
          PO Box 4869                                                           Unliquidated
          Dept 271                                                              Disputed
          Houston, TX 77210-4869
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,520.00
          Joint Restoration Foundation                                          Contingent
          PO Box 845549                                                         Unliquidated
          Kansas City, MO 64184-3549                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $712.50
          Kentech, Inc.                                                         Contingent
          PO Box 3022                                                           Unliquidated
          Humble, TX 77347                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $828.01
          Key Surgical, Inc.                                                    Contingent
          Attn: Accounts Receivable                                             Unliquidated
          PO Box 74809                                                          Disputed
          Chicago, IL 60690-7211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $485.57
          Label Arts, LLC dba Labelmart                                         Contingent
          PO Box 775218                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,229.85
          Language Line Services, Inc.                                          Contingent
          PO Box 202564                                                         Unliquidated
          Dallas, TX 75320-2564                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $815.00
          Lighthouse Services, Inc.                                             Contingent
          1710 Walton Rd Ste 204                                                Unliquidated
          Blue Bell, PA 19422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 45 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,334.11
          LipoSales                                                             Contingent
          170-9 Central Ave                                                     Unliquidated
          Farmingdale, NY 11735                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $438.41
          Lone Star Communications                                              Contingent
          4210 South Dr                                                         Unliquidated
          Houston, TX 77053-4811                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $825.92
          LSI Solutions, Inc.                                                   Contingent
          PO Box 205099                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $642.98
          Luby's Fuddruckers Restaurants, LLC                                   Contingent
          PO Box 202183                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,932.21
          Mahendru, PC                                                          Contingent
          639 Heights Blvd                                                      Unliquidated
          Houston, TX 77007                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,992.76
          Maine Standards                                                       Contingent
          221 US Route 1                                                        Unliquidated
          Cumberland Foreside, ME 04410                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $105,000.00
          Mako Surgical Corp.                                                   Contingent
          2555 Davie Rd.                                                        Unliquidated
          Fort Lauderdale, FL 33317                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 46 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,856.15
          Mangini-Lakhia Pathology Laboratory                                   Contingent
          1140 Business Center Dr, Ste 370                                      Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,353.00
          MBB Neuromonitoring                                                   Contingent
          Vilma Wheeler                                                         Unliquidated
          4708 Plum Forest Rd                                                   Disputed
          Houston, TX 77084
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $953.63
          McKesson Medical Surgical                                             Contingent
          PO Box 660266                                                         Unliquidated
          Marietta, TX 75566-0266                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,950.77
          McKesson Medical Surgical                                             Contingent
          PO Box 660266                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,249.00
          MD Resource Corporation                                               Contingent
          5981 Graham Ct                                                        Unliquidated
          Livermore, CA 94550                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,850.00
          MedGas By Design, LLC                                                 Contingent
          24200 Southwest Fwy Ste 402-261                                       Unliquidated
          Rosenberg, TX 77471                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $173,600.00
          Medical Care of Texas                                                 Contingent
          5037-B FM 2920                                                        Unliquidated
          Spring, TX 77388                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 47 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $339.37
          Medical Protective                                                    Contingent
          PO Box 15021                                                          Unliquidated
          Fort Wayne, IN 46885-5021                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,824.64
          Medical Solutions LLC                                                 Contingent
          PO Box 310737                                                         Unliquidated
          Austin, TX 78755                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,924.27
          Medivators, Inc.                                                      Contingent
          NW 9841                                                               Unliquidated
          PO Box 1450                                                           Disputed
          Minneapolis, MN 55485
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,249.20
          Medline Industries, Inc.                                              Contingent
          Dept. 1080                                                            Unliquidated
          PO Box 121080                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Medline Industries, Inc.
          c/o Michael S. Baim                                                   Contingent
          The CKB Firm                                                          Unliquidated
          30 North LaSalle St, Ste 1520                                         Disputed
          Chicago, IL 60602
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,274.94
          MedSphere Systems Corporation                                         Contingent
          135 N Los Robles Ave                                                  Unliquidated
          Ste 600                                                               Disputed
          Pasadena, CA 91101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,522.95
          Medtronic USA, Inc.                                                   Contingent
          PO Box 848086                                                         Unliquidated
          Dallas, TX 75284-8086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 48 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,900.00
          MedUSA Group, LLC                                                     Contingent
          17304 Preston Rd, Ste 800                                             Unliquidated
          Dallas, TX 75252                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,611.50
          Merit Medical Systems, Inc.                                           Contingent
          PO Box 204842                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,956.48
          Merry X-Ray Corporation                                               Contingent
          4909 Murphy Canyon Rd                                                 Unliquidated
          Ste 120                                                               Disputed
          San Diego, CA 92123
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $108.68
          Mettller-Toledo Rannin, LLC                                           Contingent
          27006 Network Place                                                   Unliquidated
          Chicago, IL 60673-1270                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $222.45
          MicroAire                                                             Contingent
          Lock Box 96565                                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,848.24
          Microsoft                                                             Contingent
          One Microsoft Way                                                     Unliquidated
          Redmond, WA 98052                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,268.00
          Millennium Surgical Corp.                                             Contingent
          PO Box 775385                                                         Unliquidated
          Chicago, IL 60677-5385                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 21 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 49 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,052.66
          Mindray DS USA, Inc.                                                  Contingent
          24312 Network PL                                                      Unliquidated
          Chicago, IL 60679-1234                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,462.69
          Misonix, Inc.                                                         Contingent
          1938 New Highway                                                      Unliquidated
          Farmingdale, NY 11735                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $551.51
          Mizuho Orthopedic Systems, Inc.                                       Contingent
          30031 Ahern Ave                                                       Unliquidated
          Union City, CA 94587-1234                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,014.84
          Modular Systems & Installation Services                               Contingent
          11225 Neeshaw                                                         Unliquidated
          Houston, TX 77065                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,086.79
          My Office Products                                                    Contingent
          PO Box 32192                                                          Unliquidated
          New York, NY 10087-2192                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,240.00
          NeoGenomics Laboratories, Inc.                                        Contingent
          PO Box 864403                                                         Unliquidated
          Orlando, FL 32886-4110                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,929.68
          Neuronetics                                                           Contingent
          32222 Phoenixville Pke                                                Unliquidated
          Malvern, PA 19355                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 22 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 50 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,247.86
          Nicka & Associates, Inc.                                              Contingent
          4500 W Wildorado Pkwy, Ste 3400                                       Unliquidated
          McKinney, TX                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Northside Pathology Group, PLLC                                       Contingent
          510 W Tidwell rd                                                      Unliquidated
          Houston, TX                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          Nova Strategic Solutions                                              Contingent
          PO Box 12204                                                          Unliquidated
          Spring, TX 77391                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,485.50
          Nuance Communications, Inc.                                           Contingent
          PO Box 7247-6924                                                      Unliquidated
          Philadelphia, PA                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $890.00
          NuTech, Inc.                                                          Contingent
          1301 Clinic Dr                                                        Unliquidated
          Tyler, TX 75701                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $940.00
          OHK Medical Device, Inc.                                              Contingent
          2885 Sanford Ave SW #14751                                            Unliquidated
          Grandville, MI 49418                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.66
          Olympus America Inc.                                                  Contingent
          PO Box 120600                                                         Unliquidated
          Dept. 0600                                                            Disputed
          Dallas, TX 75312-0600
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 23 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 51 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $165.49
          Olympus America, Inc.                                                 Contingent
          Dept. 3595                                                            Unliquidated
          PO Box 123595                                                         Disputed
          Dallas, TX 75312-3595
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $746.93
          Omnicell, Inc.                                                        Contingent
          PO Box 204550                                                         Unliquidated
          Dallas, TX 75320-4650                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $388.62
          One Stop Print Shop                                                   Contingent
          3033 Cypress Creek Pkwy                                               Unliquidated
          Houston, TX 77068                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,223.90
          Oppor Infrastructure                                                  Contingent
          4425 Indian Creek Pkwy                                                Unliquidated
          Overland Park, KS 66207                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,860.00
          Organogenesis, Inc.                                                   Contingent
          Dept. 2542                                                            Unliquidated
          PO Box 122542                                                         Disputed
          Dallas, TX 75312-2542
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,221.75
          Orion Laboratory Solutions LLC                                        Contingent
          835 E Lamar Blvd #132                                                 Unliquidated
          Arlington, TX 76011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,988.28
          Ortho Clinical Diagnostics                                            Contingent
          PO Box 3655                                                           Unliquidated
          Carol Stream, IL 60132-3655                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 52 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,612.18
          Osteomed LLC                                                          Contingent
          2241 Collection Center Dr                                             Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $154.68
          Pappa Johns Houston Pizza Venture                                     Contingent
          13131 Champions Dr, Ste 110                                           Unliquidated
          Houston, TX 77069                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,571.10
          ParMed Pharmaceuticals                                                Contingent
          PO Box 90272                                                          Unliquidated
          Chicago, IL 60696-0272                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,517.42
          Parts Source                                                          Contingent
          PO Box 645186                                                         Unliquidated
          Cincinnati, OH 45264-5186                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Patient Choice Coalition                                              Contingent
          PCCOT PO Box 278                                                      Unliquidated
          League City, TX 77574                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700.00
          PegEX                                                                 Contingent
          5520 Nobel Dr Ste 125                                                 Unliquidated
          Madison, WI 53711                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,500.00
          PenRad Technologies, Inc.                                             Contingent
          114 Commerce Circle                                                   Unliquidated
          Buffalo, MN 55313                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 25 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 53 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,204.80
          PG Lifelink                                                           Contingent
          167 Gap Way                                                           Unliquidated
          Erlanger, KY 41018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $130,943.04
          Phadia US, Inc.                                                       Contingent
          PO Box 741760                                                         Unliquidated
          Atlanta, GA 30374-1760                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $117.65
          PharMEDium Services, LLC                                              Contingent
          39797 Treasury Center                                                 Unliquidated
          Chicago, IL 60694-3900                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,872.68
          PHNH Physician Associates, PLLC                                       Contingent
          5037-B FM 2920                                                        Unliquidated
          Spring, TX 77388                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $71,486.33
          Physician's Alliance of Red Oak                                       Contingent
          5037-B FM 2920                                                        Unliquidated
          Spring, TX 77388                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business personal property included in the 2019 BPP
          Last 4 digits of account number                                    rendition
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,900.32
          Praxair Distribution, Inc - 4276                                      Contingent
          PO Box 120812                                                         Unliquidated
          Dept 0812                                                             Disputed
          Dallas, TX 75312-0812
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,398.91
          Praxair Distribution, Inc.                                            Contingent
          Dept 0812                                                             Unliquidated
          PO Box 120812                                                         Disputed
          Dallas, TX 75312-0812
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 26 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 54 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,819.74
          Praxair Distribution, Inc.                                            Contingent
          Dept. 0812                                                            Unliquidated
          PO Box 120812                                                         Disputed
          Dallas, TX 75312-0812
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,840.54
          Praxair Distribution, Inc.                                            Contingent
          dept 0812                                                             Unliquidated
          PO Box 120812                                                         Disputed
          Dallas, TX 75312-0812
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,145.82
          Press Ganey Assoc., Inc.                                              Contingent
          Box 88335                                                             Unliquidated
          Milwaukee, WI 53288-0335                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $99,621.97
          Prince Food Systems, Inc.                                             Contingent
          11001 S Wilcrest Dr, Ste 200                                          Unliquidated
          Houston, TX 77099                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,050.00
          Proficient Services                                                   Contingent
          1930 Rainy River                                                      Unliquidated
          Houston, TX 77088                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $240.00
          ProHealth Staffing LLC                                                Contingent
          PO Box 7064                                                           Unliquidated
          San Francisco, CA 94120                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,426.02
          QIAGEN, Inc.                                                          Contingent
          PO Box 5132                                                           Unliquidated
          Carol Stream, IL 60197-5132                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 27 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 55 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.02
          Radiation Detection Company, Inc.                                     Contingent
          3527 Snead Dr                                                         Unliquidated
          Georgetown, TX 78626                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,247.50
          Reinvent Biologics LLC                                                Contingent
          1200 W Fwy Ste 300                                                    Unliquidated
          Fort Worth, TX 76102                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $987.36
          Resurgence Healthcare Solutions LLC                                   Contingent
          Accounting Department                                                 Unliquidated
          PO Box 9114                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,668.00
          RGIS                                                                  Contingent
          PO Box 77631                                                          Unliquidated
          Detroit, MI 48277                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,840.48
          Richard - Alan Scientific Co.                                         Contingent
          98194 Collection Center Dr                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.00
          Rodom Medical Consulting PA                                           Contingent
          1708 Elmen St                                                         Unliquidated
          Houston, TX 77019                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125.64
          Safeguard Business Systems                                            Contingent
          PO Box 88043                                                          Unliquidated
          Chicago, IL 60680-1043                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 28 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 56 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $435.00
          Segway Orthopaedics, Inc.                                             Contingent
          5205 Avenida Encinas #C                                               Unliquidated
          Carlsbad, CA 92006                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,625.00
          SETRAC-SouthEast Texas Regional
          Advisory                                                              Contingent
          Council                                                               Unliquidated
          1111 N. Look West, Ste 160                                            Disputed
          Houston, TX 77008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,244.04
          Seyfarth Shaw LLP                                                     Contingent
          3807 Collections Center Dr                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13.91
          Sheta, Essam                                                          Contingent
          2903 Barton Ct                                                        Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,118.17
          Siemens Medical Solutions USA, Inc.                                   Contingent
          PO Box 120001 - Dept. 0733                                            Unliquidated
          Dallas, TX 75312-0001                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $691.00
          Simpex Medical                                                        Contingent
          PO Box 963                                                            Unliquidated
          Jefferson, SC 29718                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          SJ Associated Pathologists                                            Contingent
          PO Box 420150                                                         Unliquidated
          Houston, TX 77242-0150                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 29 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 57 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,060.00
          Skye Orthobiologics                                                   Contingent
          2255 Campus Dr                                                        Unliquidated
          El Segundo, CA 90245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,958.78
          Smith & Nephew, Inc.                                                  Contingent
          PO Box 205651                                                         Unliquidated
          Dallas, TX 75320-5651                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $576.00
          Solstice Corporation                                                  Contingent
          PO Box 1177                                                           Unliquidated
          Portland, ME 04104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,400.00
          Southwest Regional PCR, LLC                                           Contingent
          9161 Narcoossee Rd Ste 202                                            Unliquidated
          Orlando, FL 32827                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,820.08
          SPBS, Inc.                                                            Contingent
          4431 Long Prairie Rd Ste 100                                          Unliquidated
          Flower Mound, TX 75028                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $121.85
          Staples Business Credit                                               Contingent
          PO Box 105638                                                         Unliquidated
          Atlanta, GA 30348-5638                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,381.44
          StatLab Medical Products                                              Contingent
          PO Box 678056                                                         Unliquidated
          Dallas, TX 75267-8056                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 30 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 58 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $333.83
          STERIS Corporation                                                    Contingent
          PO Box 676548                                                         Unliquidated
          Dallas, TX 75267-6548                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $115,988.22
          Stryker Instruments                                                   Contingent
          PO Box 70119                                                          Unliquidated
          Chicago, IL 60673-0119                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $520,878.75
          Stryker Orthopaedics                                                  Contingent
          Box 93213                                                             Unliquidated
          Chicago, IL 60673-3213                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,054.48
          Stryker Sales Corp.                                                   Contingent
          PO Box 93276                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,464.34
          Sunbelt Rentals, Inc.                                                 Contingent
          PO Box 409211                                                         Unliquidated
          Atlanta, GA 30384-9211                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $210.00
          Superior Laboratory Services                                          Contingent
          1710 Preston Road, Ste A                                              Unliquidated
          Pasadena, TX 77503-2901                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $704.96
          Surgical Notes                                                        Contingent
          3100 Monticello Ave Ste 450                                           Unliquidated
          Dallas, TX 75205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 31 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 59 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,950.00
          Surgilogix                                                            Contingent
          11503 NW Military Hwy Bldg 400                                        Unliquidated
          Ste 307                                                               Disputed
          San Antonio, TX 78231-1884
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,381.50
          SutureExpress                                                         Contingent
          PO Box 842806                                                         Unliquidated
          Kansas City, MO 64184-2806                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,732.26
          TD Industries, Inc.                                                   Contingent
          PO Box 300008                                                         Unliquidated
          Dallas, TX 75303-0008                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,290.57
          Teleflex Medical                                                      Contingent
          PO Box 601608                                                         Unliquidated
          Charlotte, NC 28260-1608                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,426.15
          Terumo Medical Corporation                                            Contingent
          PO Box 841733                                                         Unliquidated
          Dallas, TX 75284-1733                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $698.22
          Texas AirSystems, LLC                                                 Contingent
          6029 West Campus Cir Dr                                               Unliquidated
          Ste 100                                                               Disputed
          Irving, TX 75063
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,535.00
          Texas Dept. of State Health                                           Contingent
          Architectural Review Group                                            Unliquidated
          PO Box 149347                                                         Disputed
          Austin, TX 78714-9347
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 32 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 60 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Texas Lithotripsy LP VIII                                             Contingent
          PO Box 953333                                                         Unliquidated
          Grapevine, TX 76099                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,651.14
          Texas Medicaid & Healthcare Partnership                               Contingent
          Accounts Receivable                                                   Unliquidated
          PO Box 202948                                                         Disputed
          Austin, TX 78720-2948
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $871.40
          The Bug Stoppers                                                      Contingent
          PO Box 8998                                                           Unliquidated
          Spring, TX 77387-8998                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,553.67
          ThyssenKrupp Elevator Corp.                                           Contingent
          PO Box 933004                                                         Unliquidated
          Atlanta, GA 31193-3004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,455.00
          Tissue Regenix Wound Care, Inc.                                       Contingent
          PO Box 841379                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Titan Spine                                                           Contingent
          6410 West Executive Dr Ste A                                          Unliquidated
          Thiensville, WI 53092                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,364,746.52
          TMMS Staffing, LLC                                                    Contingent
          5037-B FM 2920                                                        Unliquidated
          Spring, TX 77388                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 33 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 61 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,850.41
          Tornier, Inc.                                                         Contingent
          PO Box 4631                                                           Unliquidated
          Houston, TX 77210-4631                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,800.00
          Tri-State Lithotripay III, L.P.                                       Contingent
          PO Box 2062                                                           Unliquidated
          Pampa, TX 79066                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,850.00
          Tritin Medical Distribution                                           Contingent
          9 Medical Pkwy, Ste 108                                               Unliquidated
          Dallas, TX 75234-7868                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $235.45
          TWI Service, Inc.                                                     Contingent
          PO Box 520117                                                         Unliquidated
          Longwood, FL 32752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $821.50
          TZ Medical, Inc.                                                      Contingent
          17750 SW Upper Bones Ferry Rd                                         Unliquidated
          Ste 150                                                               Disputed
          Portland, OR 97224
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,157.97
          ULINE                                                                 Contingent
          Attn: Accounts Receivable                                             Unliquidated
          PO Box 88741                                                          Disputed
          Chicago, IL 60680-1741
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,878.01
          Ultimate Biomedical Solution LLC                                      Contingent
          6315B FM 1488 Rd #138                                                 Unliquidated
          Magnolia, TX 77354-2526                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 34 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 62 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Ultimate Medical Services, Inc.                                       Contingent
          6004 Hwy 90 East                                                      Unliquidated
          Lake Charles, LA 70615                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $237.87
          USMED-EQUIP                                                           Contingent
          PO Box 41321                                                          Unliquidated
          Houston, TX 77241                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $722,730.73
          VasoHealthcareIT Corp.                                                Contingent
          4710 Eisenhower Blvd Ste E-8                                          Unliquidated
          Tampa, FL 33634                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,000.00
          Venture Development                                                   Contingent
          200 Medical Dr Ste C1A                                                Unliquidated
          Carmel, IN 46032                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,435.08
          Vista Printing                                                        Contingent
          395 Olive Ave                                                         Unliquidated
          Vista, CA 92083                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,651.98
          Viventi Med, LLC                                                      Contingent
          5037-B FM 2920                                                        Unliquidated
          Spring, TX 77388                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,692.00
          W.L. Gore & Assoc., Inc.                                              Contingent
          PO Box 751331                                                         Unliquidated
          Charlotte, NC 28275                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 35 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 63 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,438.14
          Wells Johnson Company                                                 Contingent
          PO Box 18230                                                          Unliquidated
          Tucson, AZ 85731-8230                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,381.39
          Werfen USA LLC                                                        Contingent
          PO Box 347934                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,945.00
          Wound Care Innovations, LLC                                           Contingent
          1200 Summit Ave, Ste 414                                              Unliquidated
          Fort Worth, TX 76102-4407                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,179.54
          Wright Medical Technology, Inc.                                       Contingent
          PO Box 503482                                                         Unliquidated
          Saint Louis, MO 63150-3482                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $634.13
          Z-Medica, LLC                                                         Contingent
          PO Box 412344                                                         Unliquidated
          Boston, MA 02241-2344                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          Zavation Medical Products, LLC                                        Contingent
          220 Lakeland Pkwy                                                     Unliquidated
          Flowood, MS 39232                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,790.66
          Zimmer                                                                Contingent
          PO Box 840166                                                         Unliquidated
          Dallas, TX 75284-0166                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 36 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 64 of 132

 Debtor       Providence Hospital of North Houston LLC                                                Case number (if known)
              Name

 3.250     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $19,865.00
           Zimmer Knee Creations                                                Contingent
           14235 Collection Center Dr                                           Unliquidated
           Chicago, IL 60693                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       AMB Services, Inc.
           c/o Wong Fleming                                                                           Line     3.15
           77 Sugar Creek Center Blvd Ste 401
                                                                                                             Not listed. Explain
           Sugar Land, TX 77478

 4.2       Change Healthcare, LLC
           c/o Rauch-Milliken International, Inc.                                                     Line     3.55
           4400 Trenton St
                                                                                                             Not listed. Explain
           Metairie, LA 70006

 4.3       Fortis Surgical Solutions
           c/o Stromberg Stock PLLC                                                                   Line     3.82
           8750 North Central Expressway, Suite 625
                                                                                                             Not listed. Explain
           Dallas, TX 75231

 4.4       Globonics, LLC
           c/o Kara Stauffer                                                                          Line     3.91
           Alvarez Stauffer Bremer PLLC
                                                                                                             Not listed. Explain
           815 Walker St., Suite 1450
           Houston, TX 77002

 4.5       Henry Schein, Inc.
           c/o Freedman & Price, P.C.                                                                 Line     3.100
           1102 West Ave., Ste 200
                                                                                                             Not listed. Explain
           Austin, TX 78701

 4.6       Hunter Pharmacy Services, Inc.
           c/o Aaron Charles de la Garza                                                              Line     3.103
           Aaron C. De La Garza, PLLC
                                                                                                             Not listed. Explain
           509 West 18th St
           Austin, TX 78701

 4.7       Medsphere Systems Corporation
           c/o Jon Stenquist                                                                          Line     3.136
           Parsons Behle & Latimer
                                                                                                             Not listed. Explain
           350 Memorial Dr., Ste 300
           Idaho Falls, ID 83402

 4.8       Neuronetics
           c/o Javitch Block LLC                                                                      Line     3.151
           1100 Superior Ave., 19th FL
                                                                                                             Not listed. Explain
           Cleveland, OH 44114




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 37 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 65 of 132

 Debtor       Providence Hospital of North Houston LLC                                            Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.9       Prince Food Systems, Inc.
           c/o Barry Heslop                                                                      Line     3.183
           1111 Heights Blvd.
                                                                                                        Not listed. Explain
           Houston, TX 77008

 4.10      Vista Printing
           c/o Wells & Cueller                                                                   Line     3.240
           440 Louisiana, Ste 718
                                                                                                        Not listed. Explain
           Houston, TX 77002


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.        $                         0.00
 5b. Total claims from Part 2                                                                       5b.    +   $                10,020,840.37

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $                   10,020,840.37




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 38 of 38
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 66 of 132

 Fill in this information to identify the case:

 Debtor name         Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Master Lease with
             lease is for and the nature of               various scheduled
             the debtor's interest                        equipment

                  State the term remaining                4 to 44 months
                                                                                    Canon Financial Services, Inc.
             List the contract number of any                                        158 Gaither Dr
                   government contract                                              Mount Laurel, NJ 08054


 2.2.        State what the contract or                   MOU/Bill of Sale
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                49 months                 Doctor's Hospital 1997 LP
                                                                                    dba United Memorial Medical Center
             List the contract number of any                                        510 W Tidwell Rd
                   government contract                                              Houston, TX 77091


 2.3.        State what the contract or                   Equipment Lease for
             lease is for and the nature of               Robotic Arm
             the debtor's interest

                  State the term remaining                44 months
                                                                                    Rad Leasing Company II LP
             List the contract number of any                                        5037 B FM 2920
                   government contract                                              Spring, TX 77388


 2.4.        State what the contract or                   Equipment Lease for
             lease is for and the nature of               Radiology Equipment
             the debtor's interest                        for Titan High Yield
                                                          MRI, Aquillion Prime CT
                                                          Scan, Toshiba
                                                          Radiology System,
                                                          Toshiba Aplio
                                                          Ultrasound, Toshiba
                                                          Aquillion CT Scanner,
                                                          Toshiba Aplio             Texas Radiology Associates, P.A.
                                                          Transesophageal           5037B FM 2920
                  State the term remaining                21 months                 Spring, TX 77388

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                           Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 67 of 132
 Debtor 1 Providence Hospital of North Houston LLC                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement for Toshiba
             the debtor's interest                        Infinix Elite
                                                          Cardiovascular 5-Axis
                                                          C-Arm Floor-mounted
                                                          System complete with
                                                          all attachments and
                                                          accessories
                  State the term remaining                29 months
                                                                                      Toshiba Medical System
             List the contract number of any                                          2441 Michelle Dr
                   government contract                                                Tustin, CA 92780




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 68 of 132

 Fill in this information to identify the case:

 Debtor name         Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      1960 Family                       5037-B FM 2920                                    Independent                        D   2.8
             Practice, P.A.                    Spring, TX 77388                                  Financial                          E/F
                                                                                                                                    G




    2.2      1960 Family                       5037-B FM 2920                                    M2 Lease Funds, LLC                D   2.10
             Practice, P.A.                    Spring, TX 77388                                                                     E/F
                                                                                                                                    G




    2.3      1960 Family                       5037-B FM 2920                                    Henry Schein, Inc.                 D
             Practice, P.A.                    Spring, TX 77388                                                                     E/F       3.100
                                                                                                                                    G




    2.4      1960 Family                       5037-B FM 2920                                    Change Healthcare,                 D
             Practice, P.A.                    Spring, TX 77388                                  LLC                                E/F       3.55
                                                                                                                                    G




    2.5      1960 Family                       5037-B FM 2920                                    Independent                        D   2.9
             Practice, P.A.                    Spring, TX 77388                                  Financial                          E/F
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 69 of 132

 Debtor       Providence Hospital of North Houston LLC                                 Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      1960 Family                       5037-B FM 2920                               Henry Schein, Inc.              D
             Practice, P.A.                    Spring, TX 77388                                                             E/F       3.101
                                                                                                                            G




    2.7      Cypress Creek                     5037-B FM 2920                               MedSphere Systems               D
             ER of Harmony                     Spring, TX 77388                             Corporation                     E/F       3.136
                                                                                                                            G




    2.8      Cypress Creek                     5037-B FM 2920                               Independent                     D   2.8
             ER, PLLC                          Spring, TX 77388                             Financial                       E/F
                                                                                                                            G




    2.9      Cypress Creek                     5037-B FM 2920                               MedSphere Systems               D
             ER, PLLC                          Spring, TX 77388                             Corporation                     E/F       3.136
                                                                                                                            G




    2.10     Cypress Creek                     5037-B FM 2920                               Independent                     D   2.9
             ER, PLLC                          Spring, TX 77388                             Financial                       E/F
                                                                                                                            G




    2.11     Digital Imaging                   5037-B FM 2920                               VasoHealthcare IT               D   2.16
                                               77388                                        Corp.                           E/F
                                                                                                                            G




    2.12     Doctor's Hospital                 dba United Memorial Medical Center           Canon Financial                 D   2.1
             1997 LP                           510 W Tidwell Rd                             Services, Inc.                  E/F
                                               Houston, TX 77091
                                                                                                                            G




    2.13     FM 1960 Medical                   5037B FM 2920                                Independent                     D   2.8
             Village II, LP                    Spring, TX 77388                             Financial                       E/F
                                                                                                                            G




Official Form 206H                                                      Schedule H: Your Codebtors                                    Page 2 of 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 70 of 132

 Debtor       Providence Hospital of North Houston LLC                              Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     FM 1960 Medical                   5037B FM 2920                             Independent                        D   2.9
             Village II, LP                    Spring, TX 77388                          Financial                          E/F
                                                                                                                            G




    2.15     Huong Le                          50 Palmer Crest Dr.                       Independent                        D   2.8
             Nguyen                            Spring, TX 77381                          Financial                          E/F
                                                                                                                            G




    2.16     Huong Le                          50 Palmer Crest Dr.                       Canon Financial                    D   2.1
             Nguyen                            Spring, TX 77381                          Services, Inc.                     E/F
                                                                                                                            G




    2.17     Huong Le                          50 Palmer Credt Dr.                       Independent                        D   2.9
             Nguyen                            Spring, TX 77381                          Financial                          E/F
                                                                                                                            G




    2.18     Le Nguyen                         50 Palmer Crest Dr.                       Independent                        D   2.8
             Family, L.P.                      Spring, TX 77381                          Financial                          E/F
                                                                                                                            G




    2.19     Le Nguyen                         50 Palmer Crest Dr.                       Independent                        D   2.9
             Family, L.P.                      Spring, TX 77381                          Financial                          E/F
                                                                                                                            G




    2.20     Minh Chi Nguyen                   50 Palmer Crest Dr.                       Canon Financial                    D   2.1
                                               Spring, TX 77381                          Services, Inc.                     E/F
                                                                                                                            G




    2.21     Minh Chi Nguyen                   50 Palmer Crest Dr.                       Independent                        D   2.8
                                               Spring, TX 77381                          Financial                          E/F
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                    Page 3 of 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 71 of 132

 Debtor       Providence Hospital of North Houston LLC                              Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Minh Chi Nguyen                   50 Palmer Crest Dr.                       Independent                        D   2.9
                                               Spring, TX 77381                          Financial                          E/F
                                                                                                                            G




    2.23     Providence ER of                  5037-B FM 2920                            MedSphere Systems                  D
             Spring, PLLC                      Spring, TX 77388                          Corporation                        E/F       3.136
                                                                                                                            G




    2.24     Syed Rizwan                       510 W Tidwell Rd                          Independent                        D   2.8
             Mohiuddin                         Houston, TX 77091                         Financial                          E/F
                                                                                                                            G




    2.25     Syed Rizwan                       510 W Tidwell Rd                          Independent                        D   2.9
             Mohiuddin                         Houston, TX 77091                         Financial                          E/F
                                                                                                                            G




    2.26     Texas Managerial                  5037-B FM 2920                            Globonics LLC                      D
             Medical Services,                 Spring, TX 77388                                                             E/F       3.91
             LLC
                                                                                                                            G




    2.27     Texas Radiology                   5037B FM 2920                             Independent                        D   2.8
             Associates, P.A.                  Spring, TX 77388                          Financial                          E/F
                                                                                                                            G




    2.28     Texas Radiology                   5037B FM 2920                             Independent                        D   2.9
             Associates, P.A.                  Spring, TX 77388                          Financial                          E/F
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 4 of 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 72 of 132




 Fill in this information to identify the case:

 Debtor name         Providence Hospital of North Houston LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $0.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $12,696,742.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $38,816,466.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       For prior year:                                                                         Write-off of related party
       From 1/01/2019 to 12/31/2019                                                            payables for businesses that
                                                                                               had closed and filed their
                                                                                               final tax return in 2019;
                                                                                               related entities were
                                                                                               Cypress Creek ER, PLLC
                                                                                               and Encompass Neuro,
                                                                                               PLLC                                           $673,707.00




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 73 of 132
 Debtor       Providence Hospital of North Houston LLC                                                  Case number (if known)



                                                                                               Description of sources of revenue               Gross revenue from
                                                                                                                                               each source
                                                                                                                                               (before deductions and
                                                                                                                                               exclusions)
       For year before that:                                                                   Loan Payments made by
       From 1/01/2018 to 12/31/2018                                                            UMMC directly to
                                                                                               Independent Financial Bank
                                                                                               for the 2 loans that are in the
                                                                                               name of Providence Hospital
                                                                                               of North Houston, LLC                                     $507,689.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SEE ATTACHED SOFA EXHIBIT 3                                                                                            Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    SEE ATTACHED SOFA EXHIBIT 4


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                             Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 74 of 132



                                                     SOFA EXHIBIT #3
                                                                               Reason for payment
            Creditors Name     Creditor’s Address    Date         Amount           or transfer                           Reason
                                                                                                      Interest Payment on equipment leases held by
                               10665 Kuykendahl                                                       Texas Radiology Associates, PA and leased to
                               Rd., The                                                               Providence Hospital of North Houston.
JPMorgan Chase Bank, NA        Woodands, 77382      06/01/2020     3,513.33 Other                     Payment made directly to bank.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/02/2020       318.85 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/02/2020       223.35 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/02/2020       221.95 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/02/2020       196.95 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/02/2020       194.95 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/02/2020       194.95 Suppliers or vendors      Credit card company monthly processing fees.
                               7300 Chapman
                               Hwy, Knoxville, TN
Elavon Zirmed Inc.             37920                06/02/2020            0.23 Suppliers or vendors   Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/10/2020        11.60 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/10/2020            6.55 Suppliers or vendors   Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                06/10/2020            5.95 Suppliers or vendors   Credit card company monthly processing fees.



                                                                 Page 1
                               Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 75 of 132



                                                       SOFA EXHIBIT #3
                                                                                 Reason for payment
            Creditors Name       Creditor’s Address    Date         Amount           or transfer                          Reason
                                 5 Center Avenue,
                                 Little Falls, NJ                                                       Lease payment for Used Toshiba Prime 80
Highland Capital Corporation     07424                06/22/2020    10,185.24 Suppliers or vendors      Slice CT
                                                                                                        Interest Payment on equipment leases held by
                                 10665 Kuykendahl                                                       Texas Radiology Associates, PA and leased to
                                 Rd., The                                                               Providence Hospital of North Houston.
JPMorgan Chase Bank, NA          Woodands, 77382      06/30/2020     3,574.32 Other                     Payment made directly to bank.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/02/2020       103.35 Suppliers or vendors      Credit card company monthly processing fees.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/02/2020       101.95 Suppliers or vendors      Credit card company monthly processing fees.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/02/2020        76.95 Suppliers or vendors      Credit card company monthly processing fees.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/02/2020        74.95 Suppliers or vendors      Credit card company monthly processing fees.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/02/2020        74.95 Suppliers or vendors      Credit card company monthly processing fees.
                                 7300 Chapman
                                 Hwy, Knoxville, TN
Elavon Zirmed Inc.               37920                07/02/2020            0.23 Suppliers or vendors   Credit card company monthly processing fees.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/08/2020        10.70 Suppliers or vendors      Credit card company monthly processing fees.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/08/2020            6.55 Suppliers or vendors   Credit card company monthly processing fees.
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                07/08/2020            5.95 Suppliers or vendors   Credit card company monthly processing fees.



                                                                   Page 2
                               Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 76 of 132



                                                         SOFA EXHIBIT #3
                                                                                Reason for payment
            Creditors Name       Creditor’s Address      Date         Amount        or transfer                              Reason
                                                                                                       Legal fees for services through June 30, 2020
                                                                                                       for creditor claims including Medsphere
                                                                                                       (Wellsoft) and Cardinal Health (Inv. 1213994),
                                                                                                       Legal Fees for services through June 30, 2020
                                                                                                       regarding Axis Neuromontioring (Inv. 1213995)
                                 1401 McKinney St,                                                     and legal fees for services through June 30,
                                 17th Floor, Houston,                                                  2020 regarding the Medsphere Systems
Crain, Caton & James, P.C        TX 77010-4035          07/15/2020     3,065.00 Services               (Wellsoft) lawsuit (Inv. 1213996)

                                 1401 McKinney St,                                                     For services rendered through December
                                 17th Floor, Houston,                                                  31,2019 for Accountable Healthcare Staffing
Crain, Caton & James, P.C        TX 77010-4035          07/15/2020       795.00 Services               (Inv. 1206227)
                                 500 S. Mill Ave
                                 #329, Tempe, AZ
Affordify, Inc.                  85281                  07/17/2020        62.35 Suppliers or vendors   Credit card company monthly processing fees.
                                 5 Center Avenue,
                                 Little Falls, NJ                                                      Lease payment for Used Toshiba Prime 80
Highland Capital Corporation     07424                  07/20/2020    10,185.24 Suppliers or vendors   Slice CT
                                                                                                       Payment of credit card charges in Jan and Feb
                                 P.O. Box 650448,                                                      relating to the issuance of 1099 to vendors for
                                 Dallas, TX 75265-                                                     Tax Year 2019 ($78.20) and Pinestar
American Express                 0448                   07/22/2020       197.20 Suppliers or vendors   Technologies ($119)
                                                                                                       Monthly institutional claims management fee –
                                                                                                       March 2020 (Inv. 1003615), April 2020 (Inv.
                                                                                                       1071350), May 2020 (Inv. 1085172) and June
                                 1311 Solutions                                                        2020 (Inv. 1131404). Service necessary to be
                                 Center, Chicago, IL                                                   able to look up billing records to respond to
Zirmed, Inc.                     60677-1311             07/27/2020     2,416.21 Suppliers or vendors   medical record requests.
                                 5151 Katy Freeway,
                                 Ste 306, Houston,
The Pope Law Firm                TX 77007               07/30/2020     3,500.00 Services               Retainer fee for Canon vs. Providence et al
                                                                                                       Interest Payment on equipment leases held by
                                 10665 Kuykendahl                                                      Texas Radiology Associates, PA and leased to
                                 Rd., The                                                              Providence Hospital of North Houston.
JPMorgan Chase Bank, NA          Woodands, 77382        07/31/2020     4,238.05 Other                  Payment made directly to bank.


                                                                     Page 3
                             Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 77 of 132



                                                     SOFA EXHIBIT #3
                                                                               Reason for payment
            Creditors Name     Creditor’s Address    Date         Amount           or transfer                           Reason
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/03/2020       157.37 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/03/2020       103.35 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/03/2020       101.95 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/03/2020        76.95 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/03/2020        74.95 Suppliers or vendors      Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/03/2020        74.95 Suppliers or vendors      Credit card company monthly processing fees.
                               7300 Chapman
                               Hwy, Knoxville, TN
Elavon Zirmed Inc.             37920                08/03/2020            0.23 Suppliers or vendors   Credit card company monthly processing fees.
                               2800 Post Oak
                               Boulevard, 61st
                               Floor, Houston, TX
Nathan Sommers Jacobs          77056                08/07/2020    40,000.00 Services                  Retainer fee for filing the PHNH Bankruptcy
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/07/2020            9.25 Suppliers or vendors   Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/07/2020            6.55 Suppliers or vendors   Credit card company monthly processing fees.
                               500 S. Mill Ave
                               #329, Tempe, AZ
Affordify, Inc.                85281                08/07/2020            5.95 Suppliers or vendors   Credit card company monthly processing fees.



                                                                 Page 4
                                     Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 78 of 132



                                                               SOFA EXHIBIT #3
                                                                                        Reason for payment
          Creditors Name               Creditor’s Address      Date         Amount          or transfer                           Reason
                                                                                                             Legal fees for services through July 30, 2020
                                                                                                             for Creditor claims (Inv. 1215208), Legal Fees
                                                                                                             for services through July 30, 2020 regarding
                                                                                                             Fortis Lawsuit (Inv. 1215209), Legal Fees for
                                                                                                             services through July 30, 2020 regarding
                                                                                                             Globonics (1215210), Legal Fees for services
                                                                                                             through July 30, 2020 regarding Axis
                                                                                                             Neuromontioring (Inv. 1215211) and legal fees
                                       1401 McKinney St,                                                     for services through July 30, 2020 regarding the
                                       17th Floor, Houston,                                                  Medsphere Systems (Wellsoft) lawsuit (Inv.
Crain, Caton & James, P.C              TX 77010-4035          08/11/2020     3,735.00 Services               1215212)

                                       515 W. Greens Rd.,
                                       Ste. 710 Houston,
Bentley Bratcher & Associates P.C.     TX 77067               08/12/2020    20,000.00 Services               Preparation of tax returns 2019 & 2020
                                       1075 Peach Tree
                                       Street NE
                                       Suite 3500
Fisher & Phillips LLP                  Atlanta, GA 30309      08/12/2020     3,380.51 Services               Legal Fees for a case settled in 2019
                                       3555 Timmons
                                       Lane,
                                       Suite 1000
Hicks Davis Wynn P.C.                  Houston, TX 77027      08/13/2020     4,280.00 Services               Legal Fees for Cyber Attack Case
                                       POB 915004
Iron Mountain                          Dallas, TX 75391       08/18/2020     9,459.73                        Medical Record Storage Fee
                                       13111 Solutions
                                       Center     Chicago,
Zirmed-Waystar                         IL 60677               08/19/2020     1,170.02                        Medical Records Clearinghouse




                                                                           Page 5
                                                     Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 79 of 132
                                                                                                   SOFA EXHIBIT #4


                 Insider’s Name                    Insider’s address      Relationship to debtor    Post Date     Debit                                                   Reason for payment or transfer
                                               9221 Faulkner Rd
Charles Cave                                   Cleveland, TX 77328        Former CEO/CFO             11/01/2019    44,238.96 Salary payment made to Charles Cave as part of a legal settlement.
                                                                                                                             Reimburse 1960 Family Practice for portion of Jeremy Dozier sleep study bill dated 9/3/2019 as it related to time at
1960 Family Practice, PA                       5037B FM 2920, Spring TX Common ownership             11/13/2019       250.00 Providence Hospital of North Houston
Allergy of Texas, PLLC d/b/a Medical Care of
Texas                                          5037B FM 2920, Spring TX Common ownership             09/26/2019    500,000.00 On 9/26/2019, $500K was paid for management fees for September 2019 until date of PHNH bankruptcy.
                                                                                                                               In November 2019 and December 2019 a total of $190K was redeposited to PHNH. Net amount to Medical Care of
Allergy of Texas, PLLC d/b/a Medical Care of                                                       11/26/2019 -               Texas was $310,000. Reason: concerns about bank/creditors pulling money out of PHNH if UMMC did not make
Texas                                          5037B FM 2920, Spring TX Common ownership           12/30/2019     -190,000.00 payment on rent to cover Independent Financial bank loan.
                                                                                                                              On 10/24/2019, $300K was temporarily deposited and then on 10/25/2019 $300K was re-deposted into PHNH; net zero.
Allergy of Texas, PLLC d/b/a Medical Care of                                                                                  reason: concerns about bank/creditors pulling money out of PHNH if UMMC did not make payment on rent to cover
Texas                                          5037B FM 2920, Spring TX Common ownership             10/24/2019    300,000.00 Independent Financial bank loan.
                                                                                                                              On 10/24/2019, $300K was temporarily deposited and then on 10/25/2019 $300K was re-deposted into PHNH; net zero.
Allergy of Texas, PLLC d/b/a Medical Care of                                                                                  reason: concerns about bank/creditors pulling money out of PHNH if UMMC did not make payment on rent to cover
Texas                                          5037B FM 2920, Spring TX Common ownership             10/15/2019   -300,000.00 Independent Financial bank loan.
                                                                                                                              On 11/08/2019, $170K was temporarily deposited and then on 11/11/2019 $170K was re-deposited into PHNH; reason:
Allergy of Texas, PLLC d/b/a Medical Care of                                                                                  concerns about bank/creditors pulling money out of PHNH if UMMC did not make a payment on rent to cover
Texas                                          5037B FM 2920, Spring TX Common ownership             11/08/2019    170,000.00 Independent Financial bank loan.
                                                                                                                              On 11/08/2019, $170K was temporarily deposited and then on 11/11/2019 $170K was re-deposited into PHNH; net zero;
Allergy of Texas, PLLC d/b/a Medical Care of                                                                                  reason: concerns about bank/creditors pulling money out of PHNH if UMMC did not make a payment on rent to cover
Texas                                          5037B FM 2920, Spring TX Common ownership             11/11/2019   -170,000.00 Independent Financial bank loan.
                                               50 Palmer Crest Dr., The                                                       Clinical lab consultant service fees at $750/month for 36 months from 8/1/2016-8/1/2019 (Inv 6790-6792). PHNH did not
Dr. Huong Le Nguyen                            Woodlands, TX 77381      Managing Member              10/15/2019     27,000.00 pay Dr. Le for the past 36 months.
                                                                                                                              Partial payment on debt owed for the original buildout of the hospital. Debt agreement was entered into on 6/1/16 for
FM 1960 Medical Village II, LP                 5037B FM 2920, Spring TX Common ownership             08/29/2019    146,000.00 $3,761,925.
                                                                                                                              On 4/10/20, $154,531.49 was temporarily deposited and then on 4/29/20 $154,531.49 was re-deposited into PHNH;
                                                                                                                              reason: net zero; concerns about bank/creditors pulling money out of PHNH if UMMC did not make a payment on rent to
PHNH Physician Associates, PLLC                5037B FM 2920, Spring TX Common ownership             04/10/2020    154,531.49 cover Independent Financial bank loan.
                                                                                                                              On 4/10/20, $154,531.49 was temporarily deposited and then on 4/29/20 $154,531.49 was re-deposited into PHNH;
                                                                                                                              reason: net zero; concerns about bank/creditors pulling money out of PHNH if UMMC did not make a payment on rent to
PHNH Physician Associates, PLLC                5037B FM 2920, Spring TX Common ownership             04/10/2020   -154,531.49 cover Independent Financial bank loan.
                                                                                                                              On 9/6/19, PHNH paid rent of $21,574.23 for HOPD ER space at 837 Cypress Creek Ste 111. PHNH then borrowed
                                                                                                                              from Physicians Alliance of Red Oak $93,060.56 in 2/2020 to pay for the 2019 business personal property taxes of
Physicians Alliance of Red Oak, LP             5037B FM 2920, Spring TX Common ownership             09/06/2019     21,573.23 PHNH. Net amount owed is $71,486.33. See creditor 3.175 in Schedule E/F.
                                                                                                                              On 9/6/19, PHNH paid rent of $21,574.23 for HOPD ER space at 837 Cypress Creek Ste 111. PHNH then borrowed
                                                                                                   2/7/2020 -                 from Physicians Alliance of Red Oak $93,060.56 in 2/2020 to pay for the 2019 business personal property taxes of
Physicians Alliance of Red Oak, LP             5037B FM 2920, Spring TX Common ownership           2/10/2020       -93,060.56 PHNH. Net amount owed is $71,486.33. See creditor 3.175 in Schedule E/F.

Providence ER of Northwest, PLLC               5037B FM 2920, Spring TX Common ownership             11/19/2019       120.00 The incorrect deposit slip was used by the Front Desk on 9/3/2019 and this moves the money to the correct company.

Providence ER of Northwest, PLLC               5037B FM 2920, Spring TX Common ownership             11/19/2019       250.00 The incorrect deposit slip was used by the Front Desk on 9/7/2019 and this moves the money to the correct company.

Providence ER of Northwest, PLLC               5037B FM 2920, Spring TX Common ownership             11/19/2019       188.00 The incorrect deposit slip was used by the Front Desk on 9/8/2019 and this moves the money to the correct company.

Providence ER of Northwest, PLLC               5037B FM 2920, Spring TX Common ownership             11/19/2019       350.00 The incorrect deposit slip was used by the Front Desk on 9/8/2019 and this moves the money to the correct company.

Providence ER of Northwest, PLLC               5037B FM 2920, Spring TX   Common ownership           11/19/2019     1,275.00 The incorrect deposit slip was used by the Front Desk on 9/9/2019 and this moves the money to the correct company.
Rad Leasing Company II, LP                     5037B FM 2920, Spring TX   Common ownership           11/05/2019    17,000.00 Partial payment on equipment (Stryker Robotic Arm) lease payment.
Rad Leasing Company II, LP                     5037B FM 2920, Spring TX   Common ownership           12/09/2019    16,300.00 Partial payment on equipment (Stryker Robotic Arm) lease payment.
Rad Leasing Company II, LP                     5037B FM 2920, Spring TX   Common ownership           03/03/2020         5.00 Partial payment on equipment (Stryker Robotic Arm) lease payment.
Rad Leasing Company II, LP                     5037B FM 2920, Spring TX   Common ownership           10/07/2019    18,000.00 Partial payment on equipment (Stryker Robotic Arm) lease payment.
Rad Leasing Company II, LP                     5037B FM 2920, Spring TX   Common ownership           08/30/2019    17,000.00 Partial payment on equipment (Stryker Robotic Arm) lease payment.
SE Texas ER & Hospital                         19211 McKay Dr., Humble,   Managing Member has m      12/12/2019    50,000.00 Transferred money to SE Texas ER & Hospital to cover hospital costs.
SE Texas ER & Hospital                         19211 McKay Dr., Humble,   Managing Member has m      11/18/2019    50,000.00 Transferred money to SE Texas ER & Hospital to cover hospital costs.
SE Texas ER & Hospital                         19211 McKay Dr., Humble,   Managing Member has m      12/27/2019    50,000.00 Transferred money to SE Texas ER & Hospital to cover hospital costs.
Texas Radiology Associates,PA                  5037B FM 2920, Spring TX   Common ownership           09/11/2019     5,006.86 Payment to TRA as they had overpaid on the balance owed to PHNH.
                                                                                                                             Partial payments for American Express credit cards on invoices owed by PHNH and paid for by TMMS Staffing and
TMMS Staffing, LLC                             5037B FM 2920, Spring TX Common ownership             09/26/2019    30,000.00 management services of TMMS Staffing (pass through of payroll costs).
                                                                                                                             Partial payments for American Express credit cards on invoices owed by PHNH and paid for by TMMS Staffing and
TMMS Staffing, LLC                             5037B FM 2920, Spring TX Common ownership             09/24/2019    20,000.00 management services of TMMS Staffing (pass through of payroll costs).
                                                                                                                             Partial payments for American Express credit cards on invoices owed by PHNH and paid for by TMMS Staffing and
TMMS Staffing, LLC                             5037B FM 2920, Spring TX Common ownership             09/16/2019    55,000.00 management services of TMMS Staffing (pass through of payroll costs).



                                                                                                                   Page 1
                          Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 80 of 132
                                                                 SOFA EXHIBIT #4


                                                                                           On 3/25/20, $25K was temporarily deposited and then on 4/01/20 $25K was re-deposited into PHNH; net zero; reason:
                                                                                           concerns about bank/creditors pulling money out of PHNH if UMMC did not make a payment on rent to cover
TMMS Staffing, LLC   5037B FM 2920, Spring TX Common ownership   03/25/2020   25,000.00    Independent Financial bank loan.
                                                                                           On 3/25/20, $25K was temporarily deposited and then on 4/01/20 $25K was re-deposited into PHNH; net zero; reason:
                                                                                           concerns about bank/creditors pulling money out of PHNH if UMMC did not make a payment on rent to cover
TMMS Staffing, LLC   5037B FM 2920, Spring TX Common ownership   04/01/2020   -25,000.00   Independent Financial bank loan.
                                                                                           Partial payments made for contract labor for physicians, nurses RN, police officers for security at the hospital. Physicians
                                                                                           included Dr. Ortiz, Sterling Ridge Orthopedic groups, multiple other hospitalists, to provide ER and Hospitalists work at
Viventi Med, LLC     5037B FM 2920, Spring TX Common ownership   09/26/2019    7,000.00    PHNH.
                                                                                           Partial payments made for contract labor for physicians, nurses RN, police officers for security at the hospital. Physicians
                                                                                           included Dr. Ortiz, Sterling Ridge Orthopedic groups, multiple other hospitalists, to provide ER and Hospitalists work at
Viventi Med, LLC     5037B FM 2920, Spring TX Common ownership   09/30/2019    8,250.00    PHNH.
                                                                                           Partial payments made for contract labor for physicians, nurses RN, police officers for security at the hospital. Physicians
                                                                                           included Dr. Ortiz, Sterling Ridge Orthopedic groups, multiple other hospitalists, to provide ER and Hospitalists work at
Viventi Med, LLC     5037B FM 2920, Spring TX Common ownership   03/25/2020   49,000.00    PHNH.
                                                                                           Partial payments made for contract labor for physicians, nurses RN, police officers for security at the hospital. Physicians
                                                                                           included Dr. Ortiz, Sterling Ridge Orthopedic groups, multiple other hospitalists, to provide ER and Hospitalists work at
Viventi Med, LLC     5037B FM 2920, Spring TX Common ownership   09/19/2019   12,000.00    PHNH.
                                                                                           Partial payments made for contract labor for physicians, nurses RN, police officers for security at the hospital. Physicians
                                                                                           included Dr. Ortiz, Sterling Ridge Orthopedic groups, multiple other hospitalists, to provide ER and Hospitalists work at
Viventi Med, LLC     5037B FM 2920, Spring TX Common ownership   09/11/2019   50,000.00    PHNH.
                                                                                           Partial payments made for contract labor for physicians, nurses RN, police officers for security at the hospital. Physicians
                                                                                           included Dr. Ortiz, Sterling Ridge Orthopedic groups, multiple other hospitalists, to provide ER and Hospitalists work at
Viventi Med, LLC     5037B FM 2920, Spring TX Common ownership   08/28/2019   30,000.00    PHNH.




                                                                              Page 2
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 81 of 132
 Debtor       Providence Hospital of North Houston LLC                                                  Case number (if known)



    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
    in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Fortis Surgical Solutions, LLC                    Collection                151st Judicial Dist. Harris              Pending
               vs. Providence Hospital of                                                  County, TX                               On appeal
               North Houston, LLC
                                                                                                                                    Concluded
               Case No. #201921836

       7.2.    Axis Neuromonitoring, LLC v.                      Collection                133rd District Ct, Harris                Pending
               Providence Hospital of North                                                County, TX                               On appeal
               Houston, LLC
                                                                                                                                    Concluded
               Case No. #2018-77230

       7.3.    Globonics, LLC vs.                                Breach of                 165th Judicial Dist., Harris             Pending
               Providence Hospital of North                      Contract                  County, TX                               On appeal
               Houston, LLC and Texas
                                                                                                                                    Concluded
               Managerial Medical Services,
               LLC
               Case No. #2020-11252

       7.4.    Accountable Healthcare                            Collection                Civil Ct. at Law #1,                     Pending
               Staffing, Inc. vs. Providence                                               Houston, TX                              On appeal
               Hospital of North Houston,
                                                                                                                                    Concluded
               LLC, et al.
               Case No. #1136481

       7.5.    Hunter Pharmacy Services,                         Collection                419th Judicial Dist., Travis             Pending
               Inc. vs. Providence Hospital                                                County, TX                               On appeal
               of North Houston, LLC
                                                                                                                                    Concluded
               Case No. #D-1-GN 19-000590

       7.6.    Medline Industries, Inc. vs.                      Breach of                 Circuit Court of Cook                    Pending
               Providence Hospital of North                      Contract                  County, IL                               On appeal
               Houston, LLC, et al.
                                                                                                                                    Concluded
               Case No. #2019L009728

       7.7.    Medsphere Systems                                 Collection                151st Judicial Dist., Harris             Pending
               Corporation vs. Providence                                                  County, TX                               On appeal
               Hospital of North Houston,
                                                                                                                                    Concluded
               LLC
               Case No. #2020-22478

       7.8.    Prince Food Systems, Inc. vs.                     Collection                129th Judicial Dist., Harris             Pending
               Providence Hospital of North                                                County, TX                               On appeal
               Houston, LLC
                                                                                                                                    Concluded
               Case No. #2020-23471

       7.9.    Canon Financial Services vs.                      Breach of                 `151st Judicial Dist., Harris            Pending
               Providence Hospital of North                      Contract                  County, TX                               On appeal
               Houston, LLC
                                                                                                                                    Concluded
               Case No. #202044711

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 82 of 132
 Debtor        Providence Hospital of North Houston LLC                                                     Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                  Value

       9.1.    SEE ATTACHED SOFA
               EXHIBIT #9


               Recipients relationship to debtor




 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Cyber Attack                                                                                                         12/11/19               Unknown
       SEE ATTACHED SOFA EXHIBIT 10


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Nathan Sommers Jacobs
                2800 Post Oak Blvd., 61st
                Floor
                Houston, TX 77056                                                                                              08/07/20          $40,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers     Total amount or
                                                                                                                         were made                    value


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                               Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 83 of 132



                                                        SOFA EXHIBIT #9
SOFA #9 – Certain Gifts and Charitable Contributions


                                                 Description of the gifts or                                 Recipients
Recipient’s Name     Recipient’s Address              contributions            Dates Given    Value    relationship to debtor   Comment
                   602 Sawyer Street, Ste   2018 Komen Houston Race for the
Susan G. Komen     201, Houston, TX 77007   Cure                                  09/11/18    $2,006.00 None
                   603 Sawyer Street, Ste   2019 Komen Houston Race for the
Susan G. Komen     201, Houston, TX 77007   Cure                                  09/11/18    $2,096.00 None
                   604 Sawyer Street, Ste   2020 Komen Houston Race for the
Susan G. Komen     201, Houston, TX 77007   Cure                                  09/11/18     $156.00 None
                   605 Sawyer Street, Ste   2021 Komen Houston Race for the
Susan G. Komen     201, Houston, TX 77007   Cure                                  09/12/18   -$2,000.00 None
                   606 Sawyer Street, Ste   2022 Komen Houston Race for the
Susan G. Komen     201, Houston, TX 77007   Cure                                  09/30/18      -$80.00 None
                   607 Sawyer Street, Ste   2023 Komen Houston Race for the
Susan G. Komen     201, Houston, TX 77007   Cure                                  10/02/18    $1,000.00 None
                   608 Sawyer Street, Ste   2024 Komen Houston Race for the
Susan G. Komen     201, Houston, TX 77007   Cure                                  04/01/19   -$2,006.00 None
                   7432 Little River
World Health       Turnpike, Annadale, VA   Donation of money for medical
Ambassador         22003                    missions                              10/12/18   $10,000.00 None




                                                                   Page 1
        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 84 of 132
                                     SOFA EXHIBIT #10


Cyber Attack Summary


On December 11, 2019, the PHNH IT system was hit by a ransomware attack. The IT system was located
at the PHNH campus in the server room. The virus traveled through the entire IT system including the
1960 Family Practice clinics, business office, ER and multiple other entities since the virus went into the
GE (PAC system). Additionally, the tmmsonline.net email system was also compromised and all emails
have not been recovered. VasoHealthcare IT was supposed to have maintained our entire network
(pharmacies/business office/billing office/clinics/radiology/satellite locations). Everything related to
business was completely shut down.

Our cyber insurance policies allowed our insurance company to step in and the carrier paid the
ransomware ($800K plus) and also paid a recovery IT company (outside firm) to recover the damaged IT
system. After the insurance investigation was complete, it was determined that one of the computers
located at the nurse station (Kim Harrington, CNO of UMMC North) opened an unintended email and the
virus spread to all the network systems located at Providence Hospital. UMMC was using our network
system through a managed access and service agreement.

After several months, it was determined that only about 50% of the damaged software is recoverable.
PHNH has not been able to send out claims and billing has been shut down 100%.

Economic damages have not been determined. The equipment, various IT equipment, and software is
the collateral of Independent Bank.

We have provided to the carrier the monies that PHNH has paid as well as vendor invoices that the carrier
should pay. PHNH does not have a functioning billing system.

See below a timeline on major events as they occurred as part of the remediation efforts to this
ransomware attack. All major systems impacted including, but not limited to, GE Centricity, GE PACS,
MedQ, Allscripts, Amkai, CPSI, Mail Server, entire network.

    •   12/11/2019: Ransomware attack happened at 2.00 AM early morning. IT received multiple calls
        about systems not functioning. Basic troubleshooting was done but the systems remained down.
        Morning 9.00 AM – IT determined that the systems were hacked.
    •   12/12/2019: Dr. Le contacted carrier. PHNH began working with counsel for insurance carrier and
        Tracepoint (Insurance IT). Tracepoint came onsite to evaluate the network.
    •   12/12/2019: FBI Cyber Crime Dept. was notified about the incident. FBI came on site to
        investigate on the attack.
    •   3 Weeks post attack: Tracepoint completed its investigation and sent findings to their
        headquarters in Washington DC.
    •   01/21/2020: Management contacted Visualutions to evaluate Centricity Application.
    •   01/28/2020 – 01/29/2020: Visualutions came onsite, declared the centricity Database and
        application files were corrupted beyond repair and need a re-implementation.
    •   02/13/2020: Investigation findings meeting with Tracepoint, Insurance and insurance attorneys.
        All the findings were mentioned on the call.
    Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 85 of 132
                                SOFA EXHIBIT #10


•   02/27/2020: Ontrack was contacted to Decrypt the data from the centricity Database. Ontrack
    sent a quote.
•   04/15/2020: Carrier released payment to Ontrack for Centricity Data decryption.
•   04/20/2020: Management contacted MedQ for troubleshooting the corrupt RIS system
•   04/20/2020: Management contacted GE for troubleshooting the corrupt PACS system
•   04/28/2020: Contacted Visualutions for Quotes on rebuilding Centricity application
•   05/01/2020: Received Quote from MedQ. MedQ tried to troubleshoot the system for more than
    a week after they were contacted to determine if the existing system could be repaired. The
    system was not responsive and beyond repair. Decision was made to re-implement a new system.
•   05/05/2020: Received the Decrypted data of Centricity Database from Ontrack
•   05/27/2020: Received the Quote from GE. GE worked with the IT team for more than a month in
    troubleshooting the system, understanding the previous workflow and evaluating the current
    functionality. The system is beyond repair and GE sent a quote to fix the dead system. A part of
    GE (GE Archive) was acceptable and was not included in the quote.
•   During this Entire process IT has been working to rebuild all the systems that were affected with
    no patient data loss including all the computers (180) and servers (Active Directory, multiple
    File Servers, DNS&DHCP Servers, multiple Internal App Servers) and other networking
    equipment including Firewalls and switches .
                        Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 86 of 132
 Debtor        Providence Hospital of North Houston LLC                                                 Case number (if known)



13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer             Total amount or
               Address                                           payments received or debts paid in exchange             was made                           value
       13.1 SEE ATTACHED SOFA
       .    EXHIBIT #13


               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care
       15.1.     Providence Hospital of North                    Business operations were transferred September 1,                       None
                 Houston LLC                                     2019 to UMMC
                 16750 Red Oak Dr.
                                                                 Location where patient records are maintained (if different from        How are records kept?
                 Houston, TX 77090
                                                                 facility address). If electronic, identify any service provider.
                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Medical Records
                   Does the debtor have a privacy policy about that information?
                     No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                                              Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 87 of 132
                                                                                                                           SOFA EXHIBIT #13


Providence Hospital of North Houston
SOFA Question #13
Transfers not already listed on this statement

                                                                      Relationship to
     Who received the transfer                   Address                  debtor                             Description of Property Transferred                       Date transfer was made    Total amount or value

                                                                                          Lease of the hospital building located at 16750 Red Oak Drive, Houston, TX
                                                                                          77090 (real property and hospital building owned by FM 1960 Medical
                                                                                          Village II, LP) and any and all contents of the mentioned property as
                                                                                          deteremined and defined in the property lease. Also, assume any and all
                                                                                          assets, service agreements, warranties, insurance and other effects of the
Doctor's Hospital 1997 L.P. d/b/a 510 W Tidwell Rd, Houston, TX                           business as defined in the Memorandum of Understanding. See
United Memorial Medical Center 77091                               None                   documents attached: (1) Bill of Slae, (2) MOU and (3) Loan Guaranty.                        9/1/2019              1,500,000
                                  5037-B FM 2920, Spring, TX
Community ER of Clearlake, PLLC d77388                             Common ownership       Used Toshiba Prime 80 Slice CT                                                              08/14/20                295,372 *    Assumption of Lease with Highland Capital
                                  5037-B FM 2920, Spring, TX
Community ER of Clearlake, PLLC d77388                             Common ownership       Canon Aplio 500 Ultrasound, Serial # W1F1495661                                             08/14/20                 35,783 **   Assumption of Lease with Canon Financial


*                                 Fair market value of the CT on 10/15/2019 was $80,000. See letter obtained from Titanium Medical Imaging.
**                                Fair market value for ultrasound on 10/15/19 was $5,000. See letter from Titanium Medical Imaging
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 88 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 89 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 90 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 91 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 92 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 93 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 94 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 95 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 96 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 97 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 98 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 99 of 132
                    SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 100 of 132
                     SOFA EXHIBIT #13
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 101 of 132
                     SOFA EXHIBIT #13
                       Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 102 of 132
 Debtor        Providence Hospital of North Houston LLC                                                 Case number (if known)



    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    JPMorgan Chase Bank, N.A.                        XXXX-6585                   Checking                 08/11/20                    $100,000.00
                PO Box 182051                                                                Savings
                Columbus, OH 43218-2051
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Iron Mountain                                                 Arin Tijerina                        647 Boxes of Records;                   No
       202 W. 38th St.                                               Cheryl Mallams                       Storage prepaid through                 Yes
       Houston, TX 77018                                             Hazel Uy                             12/31/20
                                                                     Patricia McConnell



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                       Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 103 of 132
 Debtor      Providence Hospital of North Houston LLC                                                   Case number (if known)



      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Paul Hanson                                                                                                                11/05/18 - 02/01/19
                    1126 Wentworth Dr
                    Pearland, TX 77584
       26a.2.       Hemant Khemka                                                                                                              05/01/18 - 08/03/20
                    20406 Knolls Spring Trail
                    Katy, TX 77450
       26a.3.       Bobbi Nguyen                                                                                                               11/30/17 - 11/08/18
                    777 Preston St 37B
                    Houston, TX 77002


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                       Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 104 of 132
 Debtor      Providence Hospital of North Houston LLC                                                   Case number (if known)



       Name and address                                                                                                          Date of service
                                                                                                                                 From-To
       26a.4.       Maryan Hasan-Lawal                                                                                           02/13/19 - 005/03/19
                    22306 Davenport Downs Ln
                    Richmond, TX 77469
       26a.5.       Kelli Bullock                                                                                                10/15/18 - 09/03/19
                    8614 Spring Green Dr
                    Houston, TX 77095
       26a.6.       Patricia McConnell                                                                                           12/01/17 - current
                    16711 Saint Johns Wood Dr.
                    Tomball, TX 77377
       26a.7.       Grant Lerette                                                                                                02/28/18 - 09/11/18
                    5903 Madrone Meadow Dr.
                    Katy, TX 77494
       26a.8.       Keesha Williams                                                                                              10/30/18 - 02/22/19
                    14 Wolly Bucket Pl
                    Spring, TX 77380
       26a.9.       Marita Reyes                                                                                                 12/18/17 - 06/15/19
                    20310 Tarpon Bay Ln.
                    Cypress, TX 77433
       26a.10.      Denise Taylor                                                                                                04/19/18 - 03/25/19
                    2400 Spring Ran Dr. Apt. #1234
                    Spring, TX 77379
       26a.11.      Sara Dada                                                                                                    04/30/19 - 07/23/19
                    13427 Amber Queen Lane
                    Houston, TX 77041
       26a.12.      Aileen Hazel Rigor Uy                                                                                        05/15/18 - current
                    20314 Tarpon Bay Ln
                    Cypress, TX 77433
       26a.13.      Guadalupe Garza                                                                                              08/12/19 - 09/03/19
                    16134 Sweetwater Fields Ln
                    Tomball, TX 77377
       26a.14.      Rosie Tolson                                                                                                 04/02/19 - 04/25/19
                    2414 Cactus Bend Dr
                    Humble, TX 77396
       26a.15.      Alfleta Bowman                                                                                               02/15/16 -06/14/19
                    116 Clear Springs Dr
                    Montgomery, TX 77356
       26a.16.      Monica Harville                                                                                              06/06/17 - 09/05/19
                    7202 Barker Cypress Rd. #11104
                    Cypress, TX 77433
       26a.17.      Ayeasha Graham                                                                                               02/10/19 - 06/24/19
                    11315 Bethnal Green Dr
                    Houston, TX 77066

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                       Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 105 of 132
 Debtor      Providence Hospital of North Houston LLC                                                   Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Bentley Bratcher & Associates, P.C.                                                                                  08/01/2018 - current
                    515 W Greens Rd
                    Houston, TX 77067

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Patricia McConnell
                    16711 Saint Johns Wood Dr.
                    Tomball, TX 77377
       26c.2.       Greg Bratcher
                    515 W Greens Rd.
                    Houston, TX 77067

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Independent Financial
                    (formerly Independent Bank)
                    1051 FM 1960 West
                    Houston, TX 77090
       26d.2.       Canon Financial Services
                    158 Gaither Dr
                    Mount Laurel, NJ 08054

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Huong Le Nguyen                                50 Palmer Crest Dr.                                 Managing Member                       50%
                                                      Spring, TX 77381

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Minh Chi Nguyen                                50 Palmer Crest Dr.                                 Managing Member                       50%
                                                      Spring, TX 77381

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Stacy Williams                                 19302 Chateau Ridge Ct.                             CBO                                   0%
                                                      Tomball, TX 77377



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                       Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 106 of 132
 Debtor       Providence Hospital of North Houston LLC                                                  Case number (if known)



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Hemant Khemka                                  20406 Knolls Spring Trail                           VP of Finance                    02/01/19 - 08/03/20
                                                      Katy, TX 77450

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Belinda Simpson                                19908 Cullen Ridge Dr                               CEO/COO                          04/08/19 - 09/03/19
                                                      Porter, TX 77365

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Kimberly Harrington                            727 Vicksburg Court                                 CNO                              01/10/19 - 09/03/19
                                                      Conroe, TX 77302


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                                                Clinical lab
       .                                                                                                                                   consultant
               Huong Le Nguyen                                                                                                             services from
               50 Palmer Crest Dr.                                                                                                         08/01/2016 -
               Spring, TX 77381                                  $27,000                                                 10/1/19           08/01/2019

               Relationship to debtor
               Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Providence Hospital Holdings, LP                                                                           EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 107 of 132
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 108 of 132
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 109 of 132
    Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 110 of 132



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                   1960 Family Practice, P.A.
                   5037-B FM 2920
                   Spring, TX 77388

                   1960 Physician Associates
                   837 FM Cypress Creek Ste 105
                   Houston, TX 77090

                   AADCO Medical, Inc.
                   PO Box 410
                   Randolph, VT 05060

                   Abbott Laboratories
                   22400 Network Place
                   Chicago, IL 60673-1224

                   Abbott Vascular
                   75 Remittance Dr Ste 1138
                   Chicago, IL 60675-1138

                   Ability Network, Inc.
                   PO Box 856015
                   Minneapolis, MN 55485-6015

                   Accountable Healthcare Staffing, Inc.
                   c/o Jon Totz
                   Totz Ellison & Totz, P.C.
                   2211 Norfolk, Suite 510
                   Houston, TX 77098

                   Acumed LLC
                   7995 Collection Center Dr
                   Chicago, IL 60693

                   Aesculap Implant Systems, LLC
                   PO Box 780391
                   Philadelphia, PA 19178-0391

                   Aetna, Inc.
                   PO Box 784836
                   Philadelphia, PA 19178-4836

                   AFLAC
                   1932 Wynnton Rd
                   Columbus, GA 31999

                   Allergan USA, Inc.
                   12975 Collections Center Dr
                   Chicago, IL 60693-0129

                   Allosource
                   PO Box 801020
                   Kansas City, MO 64180-1020
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 111 of 132




               Amazon Capital Services
               PO Box 035184
               Seattle, WA 98124-5184

               AMB Services, Inc.
               22203 N Lake Village Dr
               Katy, TX 77450

               AMB Services, Inc.
               c/o Wong Fleming
               77 Sugar Creek Center Blvd Ste 401
               Sugar Land, TX 77478

               Ambiorix, LLC
               PO Box 620
               Toledo, OH 43697

               American College of Radiology
               1891 Preston White Dr
               Reston, VA 20191

               American Elevator Inspections
               PO Box 2709
               Baytown, TX 77522

               American Proficiency Institute
               Department 9526
               PO Box 30516
               Lansing, MI 48909-8016

               American Surgical Development
               19820 N 7th Ave, Ste 230
               Phoenix, AZ 85027

               AmkaiSolutions
               555 NorthPoint Center East
               Ste 300
               Alpharetta, GA 30022

               Angiodynamics, Inc.
               PO Box 1549
               Albany, NY 12201-1549

               Applied Stattistics & Management, Inc.
               PO Box 2738
               Temecula, CA 92593

               Aquarium Creations
               16753 Donwick Dr Ste C7-C8
               Conroe, TX 77385

               ArbiMed Inc.
               6229 Theall Rd Ste C
               Houston, TX 77066
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 112 of 132




               Arrow International, Inc.
               PO Box 60519
               Charlotte, NC 28260

               Arthrex, Inc.
               PO Box 403511
               Atlanta, GA 30384-3511

               Asahi Intec USA, Inc.
               3002 Dow Ave., Ste 212
               Tustin, CA 92780

               Ascend National LLC
               5380 W 34th St #288
               Houston, TX 77092

               Authorized Inspection Assoc.
               14531 FM 529 Ste 135
               Houston, TX 77095

               Avanos Medical Sales, LLC
               PO Box 732583
               Dallas, TX 75373-2583

               Avant Solutions
               29015 Japonica
               San Antonio, TX 78260

               Axis Neuromonitoring, LLC
               c/o William J. Garrison
               Garrison P.C.
               4514 Cole Ave., Suite 600
               Dallas, TX 75205

               BBC Biochemical
               PO Box 1320
               Mount Vernon, WA 98273

               BeaconMedaes
               Dept. 3234 (Lockbox)
               PO Box 123234
               Dallas, TX 75312-3234

               Behavioral Health Connections
               Attn: Accounting
               6500 Hornwood Dr
               Houston, TX 77074

               Bell Medical, Inc.
               PO Box 771470
               Saint Louis, MO 63177

               Best Choice Anesthesia and Pain Services
               7010 Chapions Placa Dr #300
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 113 of 132




               BKD LLP
               510 N Valley Mills Dr Ste 200
               Waco, TX 76710

               Boston Scientific Corporation
               PO Box 205651
               Dallas, TX 75320-5651

               Bracco Diagnostics, Inc.
               PO Box 978952
               Dallas, TX 75397-8952

               Buckeye Cleaning Center
               16420 W Hardy Rd Ste 150
               Houston, TX 77060-6243

               C.R. Bard Inc.
               PO Box 75767
               Charlotte, NC 28275

               Campos, Jose
               3913 Mossy Oaks Rd E
               Spring, TX 77389

               Canon Financial Services, Inc.
               1000 Howard Blvd., Ste 103
               Mount Laurel, NJ 08054

               Canon Financial Services, Inc.
               158 Gaither Dr
               Mount Laurel, NJ 08054

               Canon Financial Services, Inc.
               c/o Padfield & Stout, LLP
               1136 N. Kirkwood Rd
               Houston, TX 77043

               Canon Medical Systems USA, Inc.
               PO Box 775220
               Chicago, IL 60677

               Canon Medical Systems USA, inc.
               2441 Michelle Dr
               Tustin, CA 92780

               Canon Medical Systems USA, inc.
               c/o Padfield & Stout, LLP
               1136 N. Kirkwood Rd
               Houston, TX 77043

               Canon Medicaly Systems US, Inc.
               PO Box 775220
               Chicago, IL 60677
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 114 of 132




               Cardinal Health
               c/o Bank of America Lockbox
               5303 Collections Center Dr
               Chicago, IL 60693

               Cardinal Health
               7000 Cardinal Place
               Dublin POH 43017

               Cardinal Health Medical Products & Svcs
               PO Box 730112
               Dallas, TX 75373

               Cardiovascular Systems, Inc.
                Dept. CH 19348
               Palatine, IL 60055

               Cerner Corporation
               PO Box 959156
               Saint Louis, MO 63195-9156

               Change Healthcare, LLC
               3055 Lebanon Pike
               Nashville, TN 37214

               Change Healthcare, LLC
               c/o Rauch-Milliken International, Inc.
               4400 Trenton St
               Metairie, LA 70006

               Checkpoint Surgical
               22901 Millcreek Blvd, Ste 360
               Beachwood, OH 44122

               COLA
               9881 Broken Land Pkwy Ste 200
               Columbia, MD 21046

               College of American Pathologists
               PO Box 71698
               Chicago, IL 60694-1698

               CompuGroup Medical US
               10065 Red Run Blvd Ste 150
               Owings Mills, MD 21117-5566

               Cook Medical
               22988 Network Place
               Chicago, IL 60673-1229

               Cooper Surgical, Inc.
               PO Box 712280
               Cincinnati, OH 45271-2280
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 115 of 132




               CPSI
               PO Box 850309
               Mobile, AL 36685-0309

               Craneware, Inc.
               po Box 934241
               Atlanta, GA 31193-4241

               Cypress Creek ER of Harmony
               5037-B FM 2920
               Spring, TX 77388

               Cypress Creek ER, PLLC
               5037-B FM 2920
               Spring, TX 77388

               DCIDS Tissue Bank
               1600 Hayes St Ste 300
               Nashville, TN 37203

               DePuySynthes
               1302 Wrights Lane East
               West Chester, PA 19380

               Digital Imaging
               5037-B FM 2920
               77388

               Discount Print
               10730 Barker Cypress Rd Ste C
               Cypress, TX 77433

               Diversatek Healthcare, Inc.
               27270 Network Place
               Chicago, IL 60630

               DJO Surgical
               PO Box 660125
               Dallas, TX 75266

               Doctor's Hospital 1997 LP
               dba United Memorial Medical Center
               510 W Tidwell Rd
               Houston, TX 77091

               Dozier, Jeremy
               17811 N Ble Heron Cir
               Montgomery, TX 77316

               Echo Communications, Inc.
               12703 Veterans Memorial Dr Ste 200
               Houston, TX 77014
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 116 of 132




               Enhanced Revenue Solutions LLC
               25700 I45 North Ste 120
               Spring, TX 77386

               Enterprise Laboratory Conultation, LLC
               3157 Shoreline Dr
               Burleson, TX 76028-8312

               eVisit
               1201 S. Alma School Rd, Ste 15500
               Mesa, AZ 85210

               Experian Health, Inc.
               c/o Experian
               PO Box 886133
               Los Angeles, CA 90088-6133

               FedEx Freight Dept. Ch
               PO Box 10306
               Palatine, IL 60055-0306

               Fidia Pharma USA
               PO Box 10341
               Uniondale, NY 11555-1034

               Filter Technology
               9018-B Sranton
               Houston, TX 77075

               Fire Safe Protection Services, LP
               PO Box 1759, Dept 620
               Houston, TX 77251

               Fisher & Phillips LLP
               1075 Peach Tree St NE
               Ste 3500
               Atlanta, GA

               Fisher Healthcare Acct #075180-001
               PO Box 404705
               Atlanta, GA 30384

               FM 1960 Medical Village II LP
               20320 Northwest Frwy, Ste 900
               Houston, TX 77065

               FM 1960 Medical Village II, LP
               5037B FM 2920
               Spring, TX 77388

               Fortis Surgical Solutions
               c/o Stromberg Stock PLLC
               8750 North Central Expressway, Suite 625
               Dallas, TX 75231
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 117 of 132




               Fortis Surgical Solutions, LLC
               7219 Emerald Glen Dr
               Sugar Land, TX 77479

               FP Mailing Solutions
               140 N Mitchell Ct Ste 200
               Addison, IL 60101-5624

               Fresenius Medical Care
               Houston Acutes
               North 16343 Collections Center Dr
               Chicago, IL 60693

               Gary E. Patterson, PC
               PO Box 52159
               Houston, TX 77052

               GCS Backflow Services, Inc.
               8524 Highway 6 North #274
               Houston, TX 77095

               GE Healhtcare
               PO Box 640200
               Pittsburgh, PA 15264-0200

               GenProbe Instruments
               10210 Genetic Center
               San Diego, CA 92121

               Genzyme Corporation
               62665 Collections Center Dr
               Chicago, IL 60693

               Getinge USA Sales, LLC
               PO Box 775436
               Chicago, IL 60677-5436

               GI Supply, Inc.
               PO Box 45730
               Baltimore, MD 21297-5730

               Globonics LLC
               337 Garden Oaks Blvd #64830
               Houston, TX 77018

               Globonics, LLC
               c/o Kara Stauffer
               Alvarez Stauffer Bremer PLLC
               815 Walker St., Suite 1450
               Houston, TX 77002

               Gold Standard Diagnostics Corp.
               PO Box 11407
               Dept #5907
               Birmingham, AL 35202-1407
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 118 of 132




               Grainger
               Dept 886535853
               PO Box 419267
               Kansas City, MO 64141-6267

               Guardian Safe & Lock
               28155 Tomball Pkwy, Ste 6B
               Tomball, TX 77375

               Gulf Coast Regional Blood Center
               Attn: Elaine Gumabong
               1400 La Concordia
               Houston, TX

               Harris County Clerk
               201 Caroline St, 4th Fl
               Room 460
               Houston, TX 77002

               HDP Investments, Inc.
               921 Cypress Creek Pkwy, Ste 122
               Houston, TX 77090

               HealthStream, Inc.
               PO Box 102817
               Atlanta, GA 30368-2817

               Healthtronics Mobile Solutions
               PO Box 95333
               Grapevine, TX 76099

               Henry Schein, Inc.
               Dept CH 10241
               Palatine, IL 60055-0241

               Henry Schein, Inc.
               Dept CH 10241
               Palatine, IL 60055

               Henry Schein, Inc.
               c/o Freedman & Price, P.C.
               1102 West Ave., Ste 200
               Austin, TX 78701

               Highland Capital Corporation
               5 Center Ave
               Little Falls, NJ 07424

               Houston Endoscopic Solutions
               220 Barren Springs Dr. #14
               Houston, TX 77090

               Hunter Pharmacy Services
               PO Box 30573
               Austin, TX 78755
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 119 of 132




               Hunter Pharmacy Services, Inc.
               c/o Aaron Charles de la Garza
               Aaron C. De La Garza, PLLC
               509 West 18th St
               Austin, TX 78701

               Huong Le Nguyen
               50 Palmer Crest Dr.
               Spring, TX 77381

               Huong Le Nguyen
               50 Palmer Credt Dr.
               Spring, TX 77381

               iMedical, inc.
               1153 SE Century Dr
               Lees Summit, MO 64081

               Independent Financial
               formerly Independent Bank
               PO Box 3035
               McKinney, TX 75070

               Innovative Office Machine Repair
               17422 Edenway Dr #100
               Spring, TX 77379

               Integra Lifesciences
               PO Box 404129
               Atlanta, GA 30384-4129

               Invivo Corporation
               PO Box 100355
               Atlanta, GA 30384-0355

               iRCODER
               3355 Lenox Rd Ste 242
               Atlanta, GA 30326-1332

               J&J Healthcare Systems, Inc.
               PO Box 406663
               Atlanta, GA 30384-6663

               Jason's Deli
               PO Box 4869
               Dept 271
               Houston, TX 77210-4869

               Joint Restoration Foundation
               PO Box 845549
               Kansas City, MO 64184-3549

               Kentech, Inc.
               PO Box 3022
               Humble, TX 77347
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 120 of 132




               Key Surgical, Inc.
               Attn: Accounts Receivable
               PO Box 74809
               Chicago, IL 60690-7211

               Label Arts, LLC dba Labelmart
               PO Box 775218
               Chicago, IL 60677

               Language Line Services, Inc.
               PO Box 202564
               Dallas, TX 75320-2564

               Le Nguyen Family, L.P.
               50 Palmer Crest Dr.
               Spring, TX 77381

               Lighthouse Services, Inc.
               1710 Walton Rd Ste 204
               Blue Bell, PA 19422

               LipoSales
               170-9 Central Ave
               Farmingdale, NY 11735

               Lone Star Communications
               4210 South Dr
               Houston, TX 77053-4811

               LSI Solutions, Inc.
               PO Box 205099
               Dallas, TX 75320

               Luby's Fuddruckers Restaurants, LLC
               PO Box 202183
               Dallas, TX 75320

               M2 Lease Funds, LLC
               175 N. Patrick Blvd., Ste 140
               Brookfield, WI 53045

               M2 Lease Funds, LLC
               c/o Davis Kuelthau, S.C.
               11 E. Kilbourn Ave., Ste 1400
               Milwaukee, WI 53202

               Mahendru, PC
               639 Heights Blvd
               Houston, TX 77007

               Maine Standards
               221 US Route 1
               Cumberland Foreside, ME 04410
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 121 of 132




               Mako Surgical Corp.
               2555 Davie Rd.
               Fort Lauderdale, FL 33317

               Mangini-Lakhia Pathology Laboratory
               1140 Business Center Dr, Ste 370

               MBB Neuromonitoring
               Vilma Wheeler
               4708 Plum Forest Rd
               Houston, TX 77084

               McKesson Medical Surgical
               PO Box 660266
               Marietta, TX 75566-0266

               McKesson Medical Surgical
               PO Box 660266
               Dallas, TX 75266

               MD Resource Corporation
               5981 Graham Ct
               Livermore, CA 94550

               MedGas By Design, LLC
               24200 Southwest Fwy Ste 402-261
               Rosenberg, TX 77471

               Medical Care of Texas
               5037-B FM 2920
               Spring, TX 77388

               Medical Protective
               PO Box 15021
               Fort Wayne, IN 46885-5021

               Medical Solutions LLC
               PO Box 310737
               Austin, TX 78755

               Medivators, Inc.
               NW 9841
               PO Box 1450
               Minneapolis, MN 55485

               Medline Industries, Inc.
               Dept. 1080
               PO Box 121080

               Medline Industries, Inc.
               c/o Michael S. Baim
               The CKB Firm
               30 North LaSalle St, Ste 1520
               Chicago, IL 60602
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 122 of 132




               MedSphere Systems Corporation
               135 N Los Robles Ave
               Ste 600
               Pasadena, CA 91101

               Medsphere Systems Corporation
               c/o Jon Stenquist
               Parsons Behle & Latimer
               350 Memorial Dr., Ste 300
               Idaho Falls, ID 83402

               Medtronic USA, Inc.
               PO Box 848086
               Dallas, TX 75284-8086

               MedUSA Group, LLC
               17304 Preston Rd, Ste 800
               Dallas, TX 75252

               Merit Medical Systems, Inc.
               PO Box 204842
               Dallas, TX 75320

               Merry X-Ray Corporation
               4909 Murphy Canyon Rd
               Ste 120
               San Diego, CA 92123

               Mettller-Toledo Rannin, LLC
               27006 Network Place
               Chicago, IL 60673-1270

               MicroAire
               Lock Box 96565
               Chicago, IL 60693

               Microsoft
               One Microsoft Way
               Redmond, WA 98052

               Millennium Surgical Corp.
               PO Box 775385
               Chicago, IL 60677-5385

               Mindray DS USA, Inc.
               24312 Network PL
               Chicago, IL 60679-1234

               Minh Chi Nguyen
               50 Palmer Crest Dr.
               Spring, TX 77381

               Misonix, Inc.
               1938 New Highway
               Farmingdale, NY 11735
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 123 of 132




               Mizuho Orthopedic Systems, Inc.
               30031 Ahern Ave
               Union City, CA 94587-1234

               Modular Systems & Installation Services
               11225 Neeshaw
               Houston, TX 77065

               My Office Products
               PO Box 32192
               New York, NY 10087-2192

               NeoGenomics Laboratories, Inc.
               PO Box 864403
               Orlando, FL 32886-4110

               Neuronetics
               32222 Phoenixville Pke
               Malvern, PA 19355

               Neuronetics
               c/o Javitch Block LLC
               1100 Superior Ave., 19th FL
               Cleveland, OH 44114

               Nicka & Associates, Inc.
               4500 W Wildorado Pkwy, Ste 3400
               McKinney, TX

               Northside Pathology Group, PLLC
               510 W Tidwell rd
               Houston, TX

               Nova Strategic Solutions
               PO Box 12204
               Spring, TX 77391

               Nuance Communications, Inc.
               PO Box 7247-6924
               Philadelphia, PA

               NuTech, Inc.
               1301 Clinic Dr
               Tyler, TX 75701

               OHK Medical Device, Inc.
               2885 Sanford Ave SW #14751
               Grandville, MI 49418

               Olympus America Inc.
               PO Box 120600
               Dept. 0600
               Dallas, TX 75312-0600
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 124 of 132




               Olympus America, Inc.
               Dept. 3595
               PO Box 123595
               Dallas, TX 75312-3595

               Omnicell, Inc.
               PO Box 204550
               Dallas, TX 75320-4650

               One Stop Print Shop
               3033 Cypress Creek Pkwy
               Houston, TX 77068

               Oppor Infrastructure
               4425 Indian Creek Pkwy
               Overland Park, KS 66207

               Organogenesis, Inc.
               Dept. 2542
               PO Box 122542
               Dallas, TX 75312-2542

               Orion Laboratory Solutions LLC
               835 E Lamar Blvd #132
               Arlington, TX 76011

               Ortho Clinical Diagnostics
               PO Box 3655
               Carol Stream, IL 60132-3655

               Ortho-Clinical Diagnostics, Inc.
               1001 US Highway 202
               Raritan, NJ 08869

               Osteomed LLC
               2241 Collection Center Dr
               Chicago, IL 60693

               Pappa Johns Houston Pizza Venture
               13131 Champions Dr, Ste 110
               Houston, TX 77069

               ParMed Pharmaceuticals
               PO Box 90272
               Chicago, IL 60696-0272

               Parts Source
               PO Box 645186
               Cincinnati, OH 45264-5186

               Patient Choice Coalition
               PCCOT PO Box 278
               League City, TX 77574
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 125 of 132




               PegEX
               5520 Nobel Dr Ste 125
               Madison, WI 53711

               PenRad Technologies, Inc.
               114 Commerce Circle
               Buffalo, MN 55313

               PG Lifelink
               167 Gap Way
               Erlanger, KY 41018

               Phadia US, Inc.
               PO Box 741760
               Atlanta, GA 30374-1760

               PharMEDium Services, LLC
               39797 Treasury Center
               Chicago, IL 60694-3900

               PHNH Physician Associates, PLLC
               5037-B FM 2920
               Spring, TX 77388

               Physician's Alliance of Red Oak
               5037-B FM 2920
               Spring, TX 77388

               Praxair Distribution, Inc - 4276
               PO Box 120812
               Dept 0812
               Dallas, TX 75312-0812

               Praxair Distribution, Inc.
               Dept 0812
               PO Box 120812
               Dallas, TX 75312-0812

               Praxair Distribution, Inc.
               Dept. 0812
               PO Box 120812
               Dallas, TX 75312-0812

               Press Ganey Assoc., Inc.
               Box 88335
               Milwaukee, WI 53288-0335

               Prince Food Systems, Inc.
               11001 S Wilcrest Dr, Ste 200
               Houston, TX 77099

               Prince Food Systems, Inc.
               c/o Barry Heslop
               1111 Heights Blvd.
               Houston, TX 77008
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 126 of 132




               Proficient Services
               1930 Rainy River
               Houston, TX 77088

               ProHealth Staffing LLC
               PO Box 7064
               San Francisco, CA 94120

               Providence ER of Northwest, PLLC
               5037-B FM 2920
               Spring, TX 77388

               Providence ER of Spring, PLLC
               5037-B FM 2920
               Spring, TX 77388

               QIAGEN, Inc.
               PO Box 5132
               Carol Stream, IL 60197-5132

               Rad Leasing Company II LP
               5037 B FM 2920
               Spring, TX 77388

               Radiation Detection Company, Inc.
               3527 Snead Dr
               Georgetown, TX 78626

               Reinvent Biologics LLC
               1200 W Fwy Ste 300
               Fort Worth, TX 76102

               Resurgence Healthcare Solutions LLC
               Accounting Department
               PO Box 9114

               RGIS
               PO Box 77631
               Detroit, MI 48277

               Richard - Alan Scientific Co.
               98194 Collection Center Dr
               Chicago, IL 60693

               Rodom Medical Consulting PA
               1708 Elmen St
               Houston, TX 77019

               Safeguard Business Systems
               PO Box 88043
               Chicago, IL 60680-1043

               Segway Orthopaedics, Inc.
               5205 Avenida Encinas #C
               Carlsbad, CA 92006
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 127 of 132




               SETRAC-SouthEast Texas Regional Advisory
               Council
               1111 N. Look West, Ste 160
               Houston, TX 77008

               Seyfarth Shaw LLP
               3807 Collections Center Dr
               Chicago, IL 60693

               Sheta, Essam
               2903 Barton Ct
               Pearland, TX 77584

               Siemens Medical Solutions USA, Inc.
               PO Box 120001 - Dept. 0733
               Dallas, TX 75312-0001

               Simpex Medical
               PO Box 963
               Jefferson, SC 29718

               SJ Associated Pathologists
               PO Box 420150
               Houston, TX 77242-0150

               Skye Orthobiologics
               2255 Campus Dr
               El Segundo, CA 90245

               Smith & Nephew, Inc.
               PO Box 205651
               Dallas, TX 75320-5651

               Solstice Corporation
               PO Box 1177
               Portland, ME 04104

               Southwest Regional PCR, LLC
               9161 Narcoossee Rd Ste 202
               Orlando, FL 32827

               SPBS, Inc.
               4431 Long Prairie Rd Ste 100
               Flower Mound, TX 75028

               Staples Business Credit
               PO Box 105638
               Atlanta, GA 30348-5638

               StatLab Medical Products
               PO Box 678056
               Dallas, TX 75267-8056
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 128 of 132




               STERIS Corporation
               PO Box 676548
               Dallas, TX 75267-6548

               Stryker Instruments
               PO Box 70119
               Chicago, IL 60673-0119

               Stryker Orthopaedics
               Box 93213
               Chicago, IL 60673-3213

               Stryker Sales Corp.
               PO Box 93276
               Chicago, IL 60673

               Sunbelt Rentals, Inc.
               PO Box 409211
               Atlanta, GA 30384-9211

               Superior Laboratory Services
               1710 Preston Road, Ste A
               Pasadena, TX 77503-2901

               Surgical Notes
               3100 Monticello Ave Ste 450
               Dallas, TX 75205

               Surgilogix
               11503 NW Military Hwy Bldg 400
               Ste 307
               San Antonio, TX 78231-1884

               SutureExpress
               PO Box 842806
               Kansas City, MO 64184-2806

               Syed Rizwan Mohiuddin
               510 W Tidwell Rd
               Houston, TX 77091

               TD Industries, Inc.
               PO Box 300008
               Dallas, TX 75303-0008

               Teleflex Medical
               PO Box 601608
               Charlotte, NC 28260-1608

               Terumo Medical Corporation
               PO Box 841733
               Dallas, TX 75284-1733
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 129 of 132




               Texas AirSystems, LLC
               6029 West Campus Cir Dr
               Ste 100
               Irving, TX 75063

               Texas Dept. of State Health
               Architectural Review Group
               PO Box 149347
               Austin, TX 78714-9347

               Texas Lithotripsy LP VIII
               PO Box 953333
               Grapevine, TX 76099

               Texas Managerial Medical Services, LLC
               5037-B FM 2920
               Spring, TX 77388

               Texas Medicaid & Healthcare Partnership
               Accounts Receivable
               PO Box 202948
               Austin, TX 78720-2948

               Texas Radiology Associates, P.A.
               5037B FM 2920
               Spring, TX 77388

               The Bug Stoppers
               PO Box 8998
               Spring, TX 77387-8998

               ThyssenKrupp Elevator Corp.
               PO Box 933004
               Atlanta, GA 31193-3004

               Tissue Regenix Wound Care, Inc.
               PO Box 841379
               Dallas, TX 75284

               Titan Spine
               6410 West Executive Dr Ste A
               Thiensville, WI 53092

               TMMS Staffing, LLC
               5037-B FM 2920
               Spring, TX 77388

               Tornier, Inc.
               PO Box 4631
               Houston, TX 77210-4631

               Toshiba Medical System
               2441 Michelle Dr
               Tustin, CA 92780
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 130 of 132




               Toshiba Medical Systems
               2441 Michelle Dr
               Tustin, CA 92780

               Toshiba Medical Systems
               c/o Padfield & Stout
               1136 N. Kirkwood Rd
               Houston, TX 77043

               Tri-State Lithotripay III, L.P.
               PO Box 2062
               Pampa, TX 79066

               Tritin Medical Distribution
               9 Medical Pkwy, Ste 108
               Dallas, TX 75234-7868

               TWI Service, Inc.
               PO Box 520117
               Longwood, FL 32752

               TZ Medical, Inc.
               17750 SW Upper Bones Ferry Rd
               Ste 150
               Portland, OR 97224

               ULINE
               Attn: Accounts Receivable
               PO Box 88741
               Chicago, IL 60680-1741

               Ultimate Biomedical Solution LLC
               6315B FM 1488 Rd #138
               Magnolia, TX 77354-2526

               Ultimate Medical Services, Inc.
               6004 Hwy 90 East
               Lake Charles, LA 70615

               USMED-EQUIP
               PO Box 41321
               Houston, TX 77241

               VasoHealthcare IT Corp.
               4710 Eisenhower Blvd.
               Tampa, FL 33634

               VasoHealthcareIT Corp.
               4710 Eisenhower Blvd Ste E-8
               Tampa, FL 33634

               Venture Development
               200 Medical Dr Ste C1A
               Carmel, IN 46032
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 131 of 132




               Vista Printing
               395 Olive Ave
               Vista, CA 92083

               Vista Printing
               c/o Wells & Cueller
               440 Louisiana, Ste 718
               Houston, TX 77002

               Viventi Med, LLC
               5037-B FM 2920
               Spring, TX 77388

               W.L. Gore & Assoc., Inc.
               PO Box 751331
               Charlotte, NC 28275

               Wells Johnson Company
               PO Box 18230
               Tucson, AZ 85731-8230

               Werfen USA LLC
               PO Box 347934
               Pittsburgh, PA 15251

               Wound Care Innovations, LLC
               1200 Summit Ave, Ste 414
               Fort Worth, TX 76102-4407

               Wright Medical Technology, Inc.
               PO Box 503482
               Saint Louis, MO 63150-3482

               Z-Medica, LLC
               PO Box 412344
               Boston, MA 02241-2344

               Zavation Medical Products, LLC
               220 Lakeland Pkwy
               Flowood, MS 39232

               Zimmer
               PO Box 840166
               Dallas, TX 75284-0166

               Zimmer Knee Creations
               14235 Collection Center Dr
               Chicago, IL 60693

               Zimmer US, Inc.
               200 West Ohio Ave
               Dover, OH 44622
Case 20-34238 Document 1 Filed in TXSB on 08/22/20 Page 132 of 132
